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                           EXHIBIT A
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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS

BNSF RAILWAY COMPANY                             )
                                                 )
         Plaintiff,                              )
                                                 )
v.                                               )         No. 21-cv-03072
                                                 )
                                                 )
TOWN OF CICERO, ILLINOIS                         )
                                                 )
         Defendant.                              )

                              DECLARATION OF GREGG ZODY

      I, Gregg Zody, declare under penalty of perjury the following:

         1.      I am the General Director of Consumer Products, Intermodal Solutions, for BNSF

Railway Company (“BNSF”).           I submit this declaration in support of BNSF’s Motion for

Temporary Restraining Order and Preliminary Injunction. I am over the age of 18, competent to

testify, and make the following declaration based on my education, training, experience,

professional qualifications, and my understanding of the matters herein based on my personal

knowledge or my access to BNSF’s business records.

         2.      I have worked for BNSF for eighteen (18) years. For the last three (3) years, I have

worked in my current role as General Director of Consumer Products. As General Director,

Consumer Products, my responsibilities include leading a nationwide team that has a primary role

of managing beneficial cargo owner (“BCO”) relationships—i.e., relationships with the customers

that own and pay for the freight being shipped. I have served in several other Director roles at

BNSF for over a decade, including as General Director, Industrial Products, where I served our

mineral businesses unit; Director, UPS, where I served our UPS business; and Director,
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Temperature Controlled Intermodal, where I served our customers requiring temperature-

controlled shipping.

         3.     From my years of experience working with BNSF, I am readily familiar with the

operations of BNSF, including the services we provide and the products, industries, and customers

we serve.

              Background on BNSF Railway Company and Intermodal Transport

         4.     BNSF is headquartered in Fort Worth, Texas, and operates one of the largest freight

railroad networks in North America. BNSF provides services as a common carrier by rail and is

regulated by the Surface Transportation Board. BNSF serves 28 States in the western two-thirds

of the United States, as well as portions of Canada and key Mexican gateways, with approximately

32,500 route miles. BNSF operates three transcontinental routes in the United States and has

annual carrier operating revenues far in excess of $250 million, making it a Class I railroad under

federal law. BNSF moves an average of 1,200 trains per day and carries more than 500 million

tons of freight per year over these routes, serving as a key link between a number of major U.S.

markets.

         5.     Attached hereto as Exhibit 1 is a true and correct copy of a Fact Sheet prepared by

BNSF containing a map of BNSF’s rail lines and various facts about BNSF’s services and history.

         6.     BNSF serves thousands of customers and industries, many of whom are readily

recognizable by the public. Our customers include major parcel carriers and some of the nation’s

largest retailers. BNSF thus helps to feed, clothe, supply, and power communities throughout the

United States and the world, connecting local businesses and consumers with the global supply

chain.




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       7.      BNSF’s largest business segment by volume and revenue is intermodal. On a per

unit basis, intermodal accounted for 55 percent of our volume in 2020. Intermodal shipping allows

for the transfer of containerized freight from an origin point to a destination, and involves the joint

provision of service by various types of transportation providers.           The containers used in

intermodal transportation can be loaded to and from ships to trucks to rails. For example, a

container can originate on a ship, be transloaded into a 53-foot domestic container, and then

transferred or drayed (that is, delivered by truck) to rail, which efficiently moves the container

until it reaches a destination rail hub and is then delivered to its endpoint with another dray.

BNSF’s principal intermodal service is providing the rail line haul portion in that chain of transit.

       8.      BNSF’s northern rail network, in particular, is critical to intermodal shipping. The

northern rail network serves the Pacific Northwest—including Seattle, Washington, Spokane,

Washington, and Portland, Oregon—and the Minneapolis-St. Paul region. See Ex. 1. Shipments

to and from the Pacific Northwest also reach Vancouver, British Columbia by way of a truck dray

to and from BNSF’s Seattle, Washington rail hub.

       9.      BNSF has longstanding operations in Illinois. BNSF operates four facilities in the

greater Chicagoland area. I understand that the dispute in this litigation involves BNSF’s facility

located at 5601 W. 26th Street in Cicero, Illinois. BNSF’s Cicero railyard serves as a critical

juncture in BNSF’s national operations, connecting the Midwest to the Pacific Northwest. The

Cicero railyard therefore frequently serves as the destination point for foreign imports shipped

across the Pacific Ocean. Upon arrival in Cicero, the freight can be distributed by truck in the

greater Chicago area, or interchanged to another railroad to travel eastbound. Freight shipped

through our Cicero location can originate from anywhere in the world and be destined for a variety

of locations, including the Pacific Northwest, the Midwest, the U.S. eastern seaboard, or beyond.




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       10.     Attached hereto as Exhibit 2 is a true and correct copy of a map of our Cicero

railyard and rights of way.

          Products, Consumers, and Industries Served by BNSF’s Cicero Railyard

       11.     BNSF transports a myriad of products using the Cicero railyard. BNSF’s customers

include household names such as big box retailers and major parcel carriers. Products shipped by

BNSF can be found on the shelves of major retailers and in American homes. The products carried

by BNSF are crucial to businesses, health, and the economy. For example, during the COVID-19

pandemic, BNSF began carrying large volumes of personal protective equipment through our

Cicero location, such as hand sanitizer, medical equipment, and masks. We continue to carry such

equipment today. We carry a large assortment of other finished goods through our Cicero facility.

Our Cicero facility also is along a major route for various parcel carriers, meaning that we carry

the mail and packages that connect businesses and individuals to each other.

       12.     Not only do we carry a wide variety of goods and products, we also carry them at

enormous scale. In 2020, our Cicero facility “lifted” over 450,000 containers of freight. System

wide, BNSF transported 5.2 million intermodal shipments in 2020. To “lift” a container means to

move a container either on or off a train. Below is a chart documenting the number of container

lifts at our Cicero facility on an annual basis dating back to 2010.




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          13.   To illustrate the quantity of goods moving through our Cicero railyard, each of the

hundreds of thousands of containers lifted at the Cicero yard is fifty-three (53) feet long and, on

average, contains cargo that weighs 35,000 to 40,000 pounds.

                         Efficiency of BNSF’s Intermodal Rail Service

          14.   BNSF moves goods and products more safely, more efficiently, and with

significantly less fuel and emissions than trucks. In 2020, the 450,000 containers lifted at our

Cicero railyard travelled on one of BNSF’s rail lines instead of our nation’s congested highways.

Moving these heavy containers on rail lines means less wear and tear on our public infrastructure.

It also means less traffic congestion on our public highways, all the way from Chicago, to

Minneapolis-St. Paul, to the Pacific Northwest. And it means less fuel consumption, which

supports sustainability. BNSF can haul an entire ton of freight more than four hundred and seventy

(470) miles on a single gallon of diesel fuel, which is three (3) to four (4) times more efficient than

trucks.



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       15.     Intermodal rail is also highly efficient. A single container can be moved as many

as 800 miles per day in expedited service and 550 miles per day in standard domestic intermodal

service on BNSF’s tracks. The Cicero railyard in particular handles large volumes of high-priority

freight. We process some international freight in Cicero, but primarily process domestic freight,

which is prioritized for faster delivery. In Cicero, we manage freight that moves at both expedited

and standard delivery speed. Even our standard intermodal delivery service is faster than other

types of rail service, such as international, industrial, or coal. As a result, customers rely on our

Cicero railyard for time-efficient service.

       16.     Attached hereto as Exhibit 3 is a true and correct copy of BNSF’s 2021 Intermodal

Guide, which provides reference information about BNSF’s intermodal services.

             Effects of Water and Sewer Service Shutdown at the Cicero Facility

       17.     It is my understanding that the Town of Cicero, Illinois, is currently threatening to

terminate water and sewer service to our Cicero facility on July 19, 2021. As a result of this shut

off, the Town of Cicero would also require BNSF to vacate the property. Even if the Town itself

did not require BNSF to vacate, BNSF would have to shut down its Cicero railyard. Based on my

understanding of rail operations, I do not believe our Cicero railyard could operate without water

and sewer services.

       18.     A closure of our Cicero facility would be catastrophic, not only for BNSF, but also

for our customers and for other common carriers. Rail service would be compromised because the

Cicero railyard operations could not be shifted to another BNSF facility. BNSF operates four (4)

facilities in the Chicago metropolitan area, but none could absorb the volume of freight handled at

our Cicero location in the event of a closure. Each of these facilities, including our Cicero facility,

is operating at capacity. Any attempt by BNSF’s other Chicago-area facilities to absorb the freight




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handled at our Cicero location would further delay an already congested and busy rail network.

Nor could these facilities expand to accommodate new traffic. Each has maximized its available

space, and there would be no room for us to build additional rail lines or the infrastructure needed

to support such expansion, such as additional parking spaces for trucks. And it would be difficult,

if not impossible, for BNSF to replace the Cicero railyard itself. Cicero is in the heart of the

Chicago metropolitan area—a critical juncture for freight shipping. Chicago has the busiest rail

network in North America because it is the only location where all of the Class I railroads connect.

Space is severely limited in the greater Chicago area, such that we could not replace the Cicero

railyard.

        19.    BNSF’s business would also be harmed by a shutdown of the Cicero railyard.

While it is unlikely that competitor railroads could take on all of the business that is processed

through our Cicero facility, competitors could take some of that business. Meanwhile, it is likely

that customers would be upset by BNSF’s inability to provide service at its Cicero railyard.

Therefore, BNSF is likely to face competitive harm in the event that our Cicero railyard is closed

both in the form of lost customers and lost goodwill.

        20.    Our customers, too, would be harmed in the event of a closure. As General

Director, Consumer Products, I have detailed knowledge of the nature of BNSF’s relationship with

its customers, the concerns of BNSF’s customers, and the competitive environment in which BNSF

and other intermodal carriers operate. Without our Cicero railyard, our customers would need to

resort to trucking to absorb our lost capacity. This would require our customers to hire hundreds

of drivers—an all but impossible task. Our customers regularly report to me that there is a shortage

of drivers in the trucking industry and that they do not know how they could meet their shipping

needs without intermodal rail service.




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                         EXHIBIT 1
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BNSF Railway
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                         EXHIBIT 2
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                         EXHIBIT 3
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BNSF INTERMODAL GUIDE           i###.,.-#<;@K@FE




      BE DIRECT AND
         GO WEST.


         Your Guide to Everything
         Intermodal:
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    CONNECTING TO KEY MARKETS     00



    TECHNOLOGY                    02



    LOAD AND RIDE SOLUTIONS$     $04



    DEDICATED INTERMODAL TEAM    $$06



    INTERMODAL CALENDAR          $$1.
                                        Case: 1:21-cv-03072 Document #: 54-1 Filed: 10/07/21 Page 17 of 210 PageID #:539




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                                                                                                             eXdh\e\aZ$T$Yh__$gehV^_bTW,$EME$f[\c`Xagf$TeX$hfhT__l$TeeTaZXW$ba$cT__Xgf,
                                                                                                          $o$?h__$MehV^_bTW$'gX`cXeTgheX+Vbageb__XW$TaW$Wel($q$'?ME$be$ME($Yh__$gehV^_bTW$f[\c`Xagf$TeX$_TeZX
                                                                                                             XabhZ[$gb$!__$hc$Ta$Xag\eX$fX`\+gehV^$geT\_Xe,

          ;GL?$\f$g[X$_TeZXfg$TaW$`bfg$TWiTaVXW$Wb`Xfg\V$\agXe`bWT_$cebi\WXe$\a$g[X$jbe_W,$P[Xa$
          a^TTS(#RP^PRXbg$TaW$!TfXQXZXbg$TeX$eXdh\eXW$gb$TV[\XiX$T$fhcc_l$V[T\a$TWiTagTZX*$;GL?$
                                                                                                          KWT#QTab#P\S#QXVVTab#RP``XT`#^P`b\T`a#X\#bWT#X\Scab`g
          =b`Xfg\V$BagXe`bWT_$cebi\WXf$g[X$bcg\baT_\gl$aXXWXW$gb$X_\`\aTgX$[bhef$be$XiXa$WTlf$
                                                                                                          $o$M[X$aT`Xf$lbh$^abj$TaW$gehfg,
          UXgjXXa$lbhe$f[\c`Xagtf$be\Z\a$TaW$!aT_$WXfg\aTg\ba,$
                                                                                                          $o$$:ffXg$bjaXef$j\g[$g[X$VTcTV\gl$gb$fXeiX$lbh$gbWTl$TaW$gb`beebj,
          j   J^TTS8$;GL?$fV[XWh_Xf$TeX$Vb`cXg\g\iX$j\g[$biXe+g[X+ebTW$geTaf\gf,$;GL?tf$Lbhg[Xea
              MeTafVba$_\aX$T__bjf$f[\ccXef$gb$gT^X$TWiTagTZX$bY$g[X$YTfgXfg$\agXe`bWT_$ebhgX$
              UXgjXXa$Lbhg[Xea$<T_\Ybea\T$TaW$g[X$F\WjXfg,

          j   :P^PRXbg8$;GL?$bYYXef$ZhTeTagXXW$VTcTV\gl$g[ebhZ[$g[X$_TeZXfg$TffXg$bjaXef$\a$Gbeg[$        ITPSg#U]`#g]c`#aWX^[T\b#eWT\#g]c#\TTS#b]#aWX^#Xb
              :`Xe\VT$TaW$g[X$_TeZXfg$\agXe`bWT_$aXgjbe^$\a$g[X$jbe_W,$;GL?$[Tf$\aiXfgXW$`beX$            $o$Gb$eXfXeiTg\ba$eXdh\eXW,
              g[Ta$%43;$f\aVX$0...$gb$XafheX$bhe$XkcTaW\aZ$VTcTV\gl$\f$g[X$fTYXfg$TaW$`bfg$eX_\TU_X       $o$02-5$bcXeTg\baf,
              bY$Tal$<_Tff$B$eT\_ebTW,

          j   =ZTfXQXZXbg8$?eb`$T$f\aZ_X$cTV^TZX$gb$T$Yh__$gehV^_bTW$bY$lbhe$\aiXagbel*$;GL?tf$VTee\Xe$
              cTegaXef$cebi\WX$Ta$TeeTl$bY$fXei\VXf$\aV_hW\aZ$ITeVX_*$EXff$g[Ta$MehV^_bTW*$?h__$          D]ab#TU"RXT\b#WcQa#X\#YTg#[P`YTba
              MehV^_bTW$TaW$MX`cXeTgheX+<bageb__XW$bcg\baf,                                               $o$;
                                                                                                             $ GL?$`biXW$biXe$1$`\__\ba$Wb`Xfg\V$f[\c`Xagf$\a$0.0.*$`beX$g[Ta$Tal$bg[Xe$eT\_ebTW
                                                                                                             \a$g[X$jbe_W,
                                                                                                          $o$$PX$Vbag\ahX$gb$XkcTaW$Xk\fg\aZ$[hUf$TaW$\agebWhVX$aXj$YTV\_\g\Xf$gb$`XXg$Zebj\aZ$WX`TaW
                                                                                                              \a$`T]be$`Te^Xgf,




                MXTe#;][TabXR#:P``XT`#F^bX]\a                                                             ETe#bTRW\]Z]VXTa
                                                                                                          o$$Hhe$VTcTU\_\g\Xf$XkcTaW$XiXel$lXTe$j\g[$bhe$\aiXfg`Xag$\a$fgTgX+bY+g[X+Teg$Xdh\c`Xag
                                                                                                             fhV[$Tf$VTag\_XiXeXW$ehUUXe$g\eX$ZTagel$VeTaXf,
                                                                                                          o $PX$TeX$Vb``\ggXW$gb$\`cebi\aZ$g[X$Vhfgb`Xe$XkcXe\XaVX$TaW$\aVeXTf\aZ$XY!V\XaVl
                                                                                                            f\`h_gTaXbhf_l$g[ebhZ[$gXV[ab_bZ\Xf$_\^X$Thgb`Tg\ba$TaW$`TV[\aX$_XTea\aZ,
                                                                                                                                                                                                                 Case: 1:21-cv-03072 Document #: 54-1 Filed: 10/07/21 Page 23 of 210 PageID #:545




/4                                                                                                                                                                                                              /5
     K?<#@EK<IDF;8C#AFLIE<O




                                                                                                                        L>:MME>#)LB@*
             THE BNSF                                                                                      L-#L>:MME>
                                                                                                          Ports
                                                                                                              s of                      LIHD:G>
                                                                                                   Seattle/Taco
                                                                                                              oma


                                                                                                            IHKME:G=
             INTERMODAL
                                                                                                                                                                                                              LM-#I:NE


             NETWORK
                                                                                                                                                                                                                         <AB<:@H
                                                                                                                                                                                                                                           GP#HZ[`
                                                                                                   H:DE:G=#)HB@*
                                                                                                              LMH<DMHG
                                                                                                                                                                =>GO>K                                                                         <`]f^Tfd
                                                                                                                                                                                          D:GL:L#<BMR


                                                                                                                                                                                                                         LM-#EHNBL
             ;GL?tf$XkgXaf\iX$eT\_$aXgjbe^$VbaaXVgf$j\g[$`T]be$bVXTa$cbegf$TaW$\a_TaW$[hUf*$                                    ;:KLMHP

             [X_c\aZ$lbh$dh\V^_l$eXTV[$^Xl$`Te^Xgf$TVebff$g[X$N,L,$TaW$`T]be$\aWhfge\T_$TaW$          EHL#:G@>E>L           L:G#;>KG:K=BGH             :E;NJN>KJN>

                                                                                                              Ports of                                                                                            F>FIABL
             Vbafh`Xe$`Te^Xgf$\a$FXk\Vb,                                                                    Los Angeles/
                                                                                                                    eles//
                                                                                                            Long Beacach                  IAH>GBQ
                                                                                                                                                                                                                                     :ME:GM:

                                                                                                                                                    >E#I:LH                             =:EE:L.
                                                                                                                                                                                      ?HKM#PHKMA
             JKI<E>K?<E@E>#9EJ=lJ
             @EK<IDF;8C#E<KNFIB#$$                                                                                                                                                                      AHNLMHG



             M[X$;GL?$Lbhg[Xea$MeTafVba$_\aX*$ehaa\aZ$UXgjXXa$Ebf$:aZX_Xf$TaW$<[\VTZb*$\f$
                                                                                                                                                                             E:K>=H
             g[X$YTfgXfg$\agXe`bWT_$ebhgX$UXgjXXa$Lbhg[Xea$<T_\Ybea\T$TaW$g[X$F\WjXfg$pTaW$                                                                                                   KH;LMHPG#)BGM>K<A:G@>*

                                                                                                                                                                      FHGM>KK>R
             baX$bY$g[X$Uhf\Xfg$\a$g[X$jbe_W,$HiXe$g[X$_Tfg$!iX$lXTef*$;GL?$[Tf$`TWX$f\Za\!VTag$
             \aiXfg`Xagf$gb$`Tk\`\mX$g[X$Lbhg[Xea$MeTafVbatf$fTYXgl*$"h\W\gl*$VTcTV\gl$TaW$                                                                           L:G#ENBL#IHMHLB

             eX_\TU\_\gl,

                                                                                                                                                                     LBE:H
             >kcTaf\ba$XYYbegf$T_fb$Vbag\ahX$ba$;GL?tf$Gbeg[Xea$MeTafVba$ebhgX$UXgjXXa$
                                                                                                                                                                               M/EN<:
             LXTgg_X$TaW$<[\VTZb,$Ba$g[X$ITV\!V$Gbeg[jXfg*$ba$g[X$jXfgXea$XaW$bY$g[X$Gbeg[Xea$
             MeTafVba*$jX$TeX$Vbag\ah\aZ$bhe$`h_g\+lXTe$XkcTaf\ba$XYYbegf$gb$WbhU_X+geTV^$
             UXgjXXa$LTaWcb\ag*$B=$TaW$Lcb^TaX*$P:*$j[\V[$\aV_hWXf$T$fXVbaW$`T\a_\aX$TVebff$
             ET^X$IXaW$HeX\__X$Tg$LTaWcb\ag*$BWT[b,
                                                                                                                                                                                                                                                           Case: 1:21-cv-03072 Document #: 54-1 Filed: 10/07/21 Page 24 of 210 PageID #:546




/6                                                                                                                                                                                                                                                        /7
     J<IM@:<#FGK@FEJ

                                                                                                                                           PACIFIC
                                                                                 EXPEDITED                                              NORTHWEST        SPOKANE




                                                                                 DOMESTIC                                                                                                                                           ST. PAUL



                                                                                                                                                                                                                                                           CHICAGO

                                                                                 BWXT_$Ybe$bX[T)aT\aXbXdT#U`TXVWb$fhV[$Tf$$                                                                                                                                    NW OHIO

                                                                                                                                                                                          DENVER
                                                                                 cTeVX_*$ceb`bg\baT_*$gX`cXeTgheX+Vbageb__XW$$                                                                                   KANSAS CITY
                                                                                                                                    NORTHERN
                                                                                                                                    CALIFORNIA
                                                                                 TaW$W\eXVg+gb+fgbeX$f[\c`Xagf,$
                                                                                                                                                                              ALBUQUERQUE
                                                                                                                                                                                                                                                     MEMPHIS             ATLANTA

                                                                                                                                            SOUTHERN
                                                                                 M[X$YTfgXfg$\agXe`bWT_$fXei\VX$\a$g[X$\aWhfgel$$           CALIFORNIA
                                                                                                                                                              PHOENIX
                                                                                 j\g[$Ta$TiXeTZX$aXgjbe^$fcXXW$biXe$6..$`\_Xf-WTl,                                                                                           DALLAS/FORT WORTH




                                                                                                                                          PACIFIC
                                                                                                                                       NORTHWEST



                                                                                                                                                                                                                 ST. PAUL
                                                                                 STANDARD
                                                                                                                                                                                                                               CHICAGO   NW OHIO
                                                                                 DOMESTIC                                              NORTHERN
                                                                                                                                       CALIFORNIA
                                                                                                                                                                              DENVER           KANSAS CITY
            CUSTOMIZED                                                                                                                                                                                                        MEMPHIS
                                                                                                                                                                        ALBUQUERQUE                                                         ATLANTA
                                                                                 FTk\`h`$iT_hX$Ybe$f[\ccXef$j[b$$
                                                                                                                                          SOUTHERN
                                                                                                                                          CALIFORNIA           PHOENIX
                                                                                 ce\be\g\mX$R]ab#P\S#RP^PRXbg,$                                                                                          DALLAS/FORT WORTH
                                                                                                                                                                   EL PASO
            SERVICE                                                                                                                                                                                              HOUSTON

                                                                                 KXTV[$^Xl$`Te^Xgf$j\g[$Ta$TiXeTZX$$
                                                                                                                                                                                        LAREDO         ROBSTOWN
            OPTIONS                                                              aXgjbe^$fcXXW$bY$TUbhg$33.$`\_Xf-WTl,                                                                           MONTERREY



                                                                                                                                                                                               SAN LUIS POTOSI

                                                                                                                                                                                       SILAO

                                                                                                                                                                                                   TOLUCA




            ;XVThfX$baX$f\mX$WbXf$abg$!g$T__$fhcc_l$V[T\af*$;GL?$bYYXef$T$$
            iTe\Xgl$bY$\agXe`bWT_$fXei\VX$bcg\baf$gb$`XXg$lbhe$fcXV\!V$aXXWf,$                                                           PACIFIC
                                                                                 INTERNATIONAL                                        NORTHWEST




                                                                                                                                                                                                                                    ST. PAUL
                                                                                 =Xf\ZaXW$gb$geTafcbeg$.,)#P\S#0,)U]]b##
                                                                                 X[^]`b#Q]fTa$gb$TaW$Yeb`$g[X$PXfg$<bTfg$$                                                                                           OMAHA                           CHICAGO     NW OHIO

                                                                                 cbegf$TaW$`T]be$\a_TaW$`Te^Xgf,$                                                                           DENVER                                             ST. LOUIS
                                                                                                                                                                                                                 KANSAS CITY


                                                                                 <hgf$geTaf\g$g\`X$Ul$Tf$`hV[$Tf$1$/-0$WTlf*$
                                                                                                                                                                                                                                                 MEMPHIS
                                                                                                                                                                                                                                                                     ATLANTA
                                                                                 WXcXaW\aZ$ba$lbhe$fXei\VX$_\aX,$
                                                                                                                                           SOUTHERN
                                                                                                                                           CALIFORNIA


                                                                                 Fbfg$XY!V\Xag$bcg\ba$Ybe$W\eXVg$$                                                                                                          DALLAS/FORT WORTH


                                                                                 iXffX_+gb+eT\_$geTafcbeg,
                                                                                                                                                                                                                                  HOUSTON




                                                                                                                              =X\S#g]c`#
                                                                                                                              9EJ=#R]\bPRb*
                                                                                                                                                                                                                                                                                   Case: 1:21-cv-03072 Document #: 54-1 Filed: 10/07/21 Page 25 of 210 PageID #:547




0.                                                                                                                                                                                                                                                                             0/
     :FEE<:K@E>#KF#B<O#D8IB<KJ




                                                                                                                                                                                                     CO-LOCATION
                                                                                                                                      9EJ=#@\bT`[]SPZ#=PRXZXbg
                                                                                                                                                                                   C]VXabXRa#GP`Y#   BENEFITS
                                                                                                                                                                                   9EJ=
                                                                                                                                                                                                     <b+_bVTg\ba$\f$_bVTg\aZ$lbhe$
                                                                                                                                                                                                     W\fge\Uhg\ba$VXagXe$be$jTeX[bhfX$
                                                                                                                                                                                                     j\g[\a$T$;GL?$EbZ\fg\Vf$ITe^$be$
              BEST-IN-CLASS                                                                                                                            JXbT#9
                                                                                                                                                                                                     TW]TVXag$gb$Ta$\agXe`bWT_$[hU,$
                                                                                                                                                                                                     Bg$cebi\WXf$fgeXT`_\aXW$fhcc_l$
                                                                                                                                                                                                     V[T\a$fb_hg\baf$g[Tg$VbaaXVg$
              HUB FACILITIES                                                                                                                                                                         `TahYTVgheXef$TaW$eXgT\_Xef$$
                                                                                                                                                                                                     gb$g[X\e$`Te^Xgf,$$
                                                                                                                                 9EJ=#CF>@JK@:J#G8IBJ#
                                                                                                                                 8ZZXP\RT#C]VXabXRa#GP`Y(#C]VXabXRa#GP`Y#
                                                                                                                                                                                                      Reduce drayage cost.
                                                                                                                                 :WXRPV]#P\S#C]VXabXRa#GP`Y#BP\aPa#:Xbg
                                                                                                                                 EH<:MBHG$<HLM$L:OBG@L$>Q:FIE>8
              C8I><JK#?L9#E<KNFIB$bY$\gf$^\aW,                                                                                   L\gX$:8$EbZ\fg\Vf$ITe^$;GL?
                                                                                                                                 L\gX$;8$0.$`\_Xf$TjTl                                                Maximize truck turns.
              ;@I<:K#8::<JJ#gb$g[bhfTaWf$bY$`T]be$W\fge\Uhg\ba$VXagXef$TaW$                                                      -<M@?"IH"<"CSJINC@ND><F"M>@H<LDI"QDNC")$'''"<HHO<F"DH=IOH?"
              jTeX[bhfXf$TVebff$g[X$N,L,                                                                                         DHN@LGI?<F"MCDJG@HNM

                                                                                                                                 ;l$EbVTg\aZ$Tg$EbZ\fg\Vf$ITe^$;GL?$Rbht__$LTiX8                      Minimize number
              8LKFD8K<;#;I@M<I#:?<:B)@E#GIF:<JJ#hf\aZ$TWiTaVXW$gXV[ab_bZl$$
                                                                                                                                                                                                      of trucks and
              gb$YTV\_\gTgX$\a+ZTg\aZ$TaW$bhg+ZTg\aZ,                                                                            j    $--3#X\#S`PgPVT#R]aba$cXe$ha\g$                                 drivers needed.
                                                                                                                                 j#   $141(,,,#b]bPZ#P\\cPZZg$ba$\aUbhaW$f[\c`Xagf$gb$lbhe$
              I8@CG8JJ#GC8K=FID#VTa$\agXZeTgX$f[\c`Xag$WXgT\_f$\agb$gehV^\aZ$$                                                        W\fge\Uhg\ba$VXagXe
              baUbTeW$Vb`chgXef$Ybe$T$YTfgXe*$XTf\Xe$ba+gXe`\aT_$XkcXe\XaVX,$
                                                                                                                                 j#   $-*-3#X\#P\\cPZ#`T\b#aPdX\Va#cXe$L?$Ybe$T$3..*...$L?$           Strong developer
                                                                                                                                      W\fge\Uhg\ba$VXagXe$YTV\_\gl                                    partnerships.

                              LB@#)L>:MME>*
                   LHNMA#L>:MME>                                                                                                           CTP`\#W]e#R])Z]RPbX\V#\TP`#P#`PXZ#aT`dTS#
                                     LIHD:G>                                                                                                                                                          Decrease emissions
                                                                                                                                         UPRXZXbg#RP\#`TScRT#g]c`#ac^^Zg#RWPX\#R]aba*##               and costs by cutting
                       IHKME:G=

                                                                                                 LM-#I:NE
                                                                                                                                                                                                      fuel consumption.

                                                                                                               <HKPBMA
                                                                                                   <B<>KH                                     Meet Jane!
                                                                                                                PBEEHP#LIKBG@L
                                                                                                        EI<                                                                                           Heavyweight
                                                                              HF:A:

                                                         =>GO>K
                                                                                                                                                                                                      capabilities.
                          LMH<DMHG
                H:DE:G=                                                     D:GL:L#<BMR
                                                                                                        LM-#EHNBL

                 EHL#:G@>E>L
              )<HFF>K<>.AH;:KM* ;:KLMHP

                                                              :E;NJN>KJN>                             F>FIABL
                      L:G#;>KG:K=BGH
                                               IAH>GBQ
                                                                                      :EEB:G<>
                                                   >E#I:LH


                                                                                             AHNLMHG                                                                    =X\S#g]c`#
                                                                                                                                                                        9EJ=#R]\bPRb*
                                                                                                                                                                                                                                 Case: 1:21-cv-03072 Document #: 54-1 Filed: 10/07/21 Page 26 of 210 PageID #:548




00                                                                                                                                                                                                                             01
     K<:?EFCF>O




                                                                        ?L9#8LKFD8K@FE
                                                                        ;GL?$\f$VbafgTag_l$_bb^\aZ$gb$fgeXT`_\aX$\gf$[hU$cebVXffXf$gb$^XXc$YeX\Z[g$`bi\aZ,

                                                                        $o$>
                                                                           $ _XVgeba\V$_bZZ\aZ$WXi\VX$'>E=($\agXZeTg\ba$Ybe$ZTgX_Xff$Xagel,

                                                                        $o$I
                                                                           $ \_bg\aZ$Thgb`TgXW$fgeTWW_X$VTee\Xef$'EbZ\fg\Vf$ITe^$DTafTf$<\gl(,

                                                                        $o$$:hgb`TgXW$`TV[\aX$_XTea\aZ$lTeW$V[XV^$flfgX`,




                                                                        8;M8E:@E>#JLGGCO#:?8@E#:FEE<:K@M@KO
          ALWAYS                                                        ;GL?$hg\_\mXf$g[X$`bfg$TWiTaVXW$\agXZeTg\ba$fb_hg\baf$TaW$gXV[ab_bZl$gb$Yheg[Xe$$
                                                                        T_\Za$j\g[$g[X$fhcc_l$V[T\a,

          INNOVATING                                                    $o$$:IB$'Tcc_\VTg\ba$cebZeT`$\agXeYTVX($XaTU_Xf$f\`c_Xe$TaW$_Xff$Vbfg_l$WTgT$XkV[TaZXf$
                                                                            UXgjXXa$cTeg\Xf$j[\_X$T__bj\aZ$Ybe$`beX$eXT_+g\`X$TVVXff$bY$f[\c`Xag$geTV^\aZ$TaW$
                                                                            U\__\aZ,

                                                                        $o$@
                                                                           $ XbYXaVX$Gbg\!VTg\ba$Mbb_$q$;GL?$Vhfgb`Xef$VTa$geTV^$T$f[\c`Xag$hf\aZ$T$ZXbYXaVX$
                                                                           T_Xeg$flfgX`,$M[Xl$eXVX\iX$T$abg\!VTg\ba$baVX$T$f[\c`Xag$cTffXf$g[ebhZ[$T$
                                                                           WXf\ZaTgXW$_bVTg\ba,
          :g$;GL?*$jXteX$Vbag\ahT__l$Xkc_be\aZ$[bj$aXj$gbb_f$TaW$$
                                                                        $o$?
                                                                           $ heg[Xe$TWiTaV\aZ$rBagXZeTgXW$LXei\VX$I_Taa\aZs$j\__$cebi\WX$geTafcTeXaVl$gb$`beX$
          gXV[ab_bZ\Xf$VTa$\`cebiX$fTYXgl$TaW$eX_\TU\_\gl*$\aVeXTfX$$
                                                                           XYYXVg\iX_l$haWXefgTaW$TaW$`XXg$Vhfgb`Xe$aXXWf$i\T$g[X$XkV[TaZX$bY$Ve\g\VT_$WTgT,
          XY!V\XaVl$TaW$Xa[TaVX$lbhe$\agXe`bWT_$XkcXe\XaVX,




                                                                        DF9@C<#KFFCJ
                                                                        $o$H
                                                                           $ a+g[X+Zb$c_Taa\aZ$TaW$eXT_+g\`X$f[\c`Xag$WTgT,

                                                                        $o$=
                                                                           $ e\iXef$VTa$UlcTff$`h_g\c_X$^\bf^$fVeXXaf$Tg$bhe$:@L+Xdh\ccXW$f\gXf,

                                                                        $o$J
                                                                           $ K$gXV[ab_bZl$Ybe$YTfg$XageTaVX$TaW$Xk\g,

                                                                        o$L
                                                                          $ XaW$C/$W\Z\gT_$eXVX\cgf$gb$T$`bU\_X$WXi\VX$'ab$jT\g\aZ$Ybe$T$ce\agbhg(,
                                                                               $

                                                                        $o$@
                                                                           $ TgX$abg\!VTg\ba$YXTgheX$[\Z[_\Z[gf$[hU$XageTaVX$TaW$_bg$_bVTg\ba$hcWTgXf,
                                                                                                                                                                   Case: 1:21-cv-03072 Document #: 54-1 Filed: 10/07/21 Page 27 of 210 PageID #:549




02                                                                                                                                                                03
     CF8;#8E;#I@;<#JFCLK@FEJ




             LOAD AND RIDE
             SOLUTIONS                                                                       LOAD PLANNING
             (LARS)                                                                          AND SECUREMENT
                                                                                             B<<G@E>#OFLI#:8I>F#J8=<#8E;#;8D8><)=I<<
             ;GL?$\f$g[X$\aWhfgel$_XTWXe$\a$ceXiXag\aZ$VTeZb$_bff$TaW$WT`TZX,$
                                                                                             ;GL?tf$E:KL$gXT`$bYYXef$geT\a\aZ$ba$cebcXe_l$_bTW\aZ$TaW$fXVhe\aZ$Ubg[$eXfge\VgXW$TaW$
             P[Xg[Xe$lbhteX$hf\aZ$eT\_$Ybe$g[X$!efg$g\`X*$\agebWhV\aZ$T$aXj$cebWhVg$_\aX*$
                                                                                             aba+eXfge\VgXW$Vb``bW\g\XfpTg$ab$Vbfg$gb$lbh,$Hg[Xe$E:KL$fXei\VXf$\aV_hWX$ba+f\gX$_bTW\aZ$
             be$V[TaZ\aZ$lbhe$_bTW$Vba!ZheTg\baf$Yeb`$baX$`bWX$bY$geTafcbegTg\ba$gb$
                                                                                             XiT_hTg\baf*$Vb`c_XgX$e\WX$dhT_\gl$`ba\gbe\aZ$cebZeT`f$TaW$Vhfgb`\mXW$_bTW\aZ$W\TZeT`f,
             Tabg[Xe*$bhe$E:KL$gXT`$VTa$[X_c,

                                                                                             C8IJ#@E#8:K@FE6#9<JK#GI8:K@:<J#
             :8I>F#@E:@;<EK#GI<M<EK@FE#k#PXt__$jbe^$j\g[$lbh$gb$ceXiXag$
             `biX`Xag$bY$hafTYX$_bTWf*$XkcXW\gX$_bTW$TW]hfg`Xagf$gb$\`cebiX$ha\g$                                          DIVIDER
                                                                                                                           SHEETS
             iX_bV\gl*$TaW$`\a\`\mX$VTeZb$WT`TZX,$                                                                                                        D.I.D. BAG WITH
                                                                                                                                                        BUFFER PROTECTION
             I<JKI@:K<;#:FDDF;@KO#J?@GD<EKJ#k#PX$VTa$[X_c$XafheX$$
             fTYX$`biX`Xag$bY$eXfge\VgXW$Vb``bW\gl$f[\c`Xagf*$TaW$bhe$HLA:$$
             EXiX_$:$eXfcbaWXef$TeX$ceXcTeXW$gb$[TaW_X$ha\agXag\baT_$eX_XTfXf$$
             bY$[TmTeWbhf$`TgXe\T_f,$

             I@;<#HL8C@KO#K<JK@E>#k#PX$`ba\gbe$T__$f[\c`Xagf$gb$ceb`bgX$$
             fTYX$TaW$\aV\WXag+YeXX$eT\_$[TaW_\aZ,$

             @E)KI8EJ@K#8E;#@EK<IDF;8C#=8:@C@KO#J<:LI@KO#k#;GL?tf$$
             Yh__l$VXeg\!XW$fgTgX$_Tj$XaYbeVX`Xag$bY!VXef$cebgXVg$bhe$aXgjbe^*$j[\_X$                       WOOD FLOOR
                                                                                                             BLOCKING
             bhe$fXVhe\gl$cebVXWheXf$TaW$[\Z[+gXV[$gbb_f$[X_c$lbhe$YeX\Z[g$cTff$$
             fTYX_l$g[ebhZ[$bhe$\agXe`bWT_$YTV\_\g\Xf,$



             ?be$`beX$\aYbe`Tg\ba$TaW$ZXaXeT_$_bTW\aZ$ce\aV\c_Xf

             be$VT__$1-800-333-4686,
                                                                                                                                                                                           Case: 1:21-cv-03072 Document #: 54-1 Filed: 10/07/21 Page 28 of 210 PageID #:550




04                                                                                                                                                                                        05
     ;<;@:8K<;#@EK<IDF;8C#K<8D


                                                                                              GI@D8IO#9<E<=@:@8C#:8I>F#FNE<I#&9:F'#:FEK8:KJ
                                                                                              9CDM"N@<G"G<H<B@M"L@F<NDIHMCDJM"QDNC"MCDJJ@LM"<H?"=@H@!>D<F"><LBI"IQH@LM&

                                                                                               >T\T`PZ#;X`TRb]`$q$@eXZZ$SbWl8$ZeXZZ,mbWl9UafY,Vb`$
                                                                                               NTab#;X`TRb]`$$q$MTaaXe$O\XegX_8$gTaaXe,i\XegX_9;GL?,Vb`*$6/5+130+5453
                                                                                               <Pab#;X`TRb]`$q$MTl_be$ATee\aZgba8$gTl_be,[Tee\aZgba9UafY,Vb`*$6/5+645+4735               2                                                 8
                                                                                               DTfXR]#;X`TRb]`$q$<Te_bf$MeXi\ab8$VTe_bf,geXi\ab9UafY,Vb`*$6/5+645+4405#
                                                                                                                                                                                                              4
                 WE’RE READY                                                                                                                                                                                                  6       7
                                                                                                                                                                                                                      5
                                                                                                                                                                                         1
                 TO PARTNER                                                                    1    J]cbWeTab$q$:_\ffT$FheeTl8$T_\ffT,`heeTl9UafY,Vb`*$727+00.+2.53
                                                                                               2    E]`bWeTab$q$CTVX$M[b`cfba8$]TVX,g[b`cfba9UafY,Vb`*$0.4+732+5./1
                                                                                               3    J]cbW#:T\b`PZ$q$<[TfX$:eg[he8$V[Te_Xf,Teg[he9UafY,Vb`*$6/5+645+4006
                                                                                                                                                                                                                                  9
                                                                                                                                                                                                          3
                                                                                               4    E]`bW#:T\b`PZ$q$Ml_Xe$KXWW\aZgba[TW8$gl_Xe,eXWW\aZgba9UafY,Vb`*$1.5+46.+71.7
                 WITH YOU.                                                                     5    :T\b`PZ$q$L[ThaT$LgTZaXe8$f[ThaT,fgTZaXe9UafY,Vb`*$6/5+013+4675$
                                                                                               6    FWX]#MPZZTg$q$LhZTag[$;Tf^TeTa8$fhZTag[,UTf^TeTa9UafY,Vb`*$7.7+264+.166
                                                                                               7    DXS)8bZP\bXR$q$;bUUl$LgebaZ8$UbUUl,fgebaZ9UafY,Vb`*$7/1+1/1+7.14
                                                                                               8    E]`bWTPab#$q$CXeX`l$RbhaZ8$]XeX`l,lbhaZ9UafY,Vb`*$0.5+5/0+5302                              10
                                                                                               9    J]cbWTPab#q$<[e\fg\Ta$Flf_\V^\8$V[e\fg\Ta,`lf_\V^\9UafY,Vb`*$460+125+5776
                                                                                               10   E]`bW#DTfXR]$q$O\Vgbe$=b`\aZhXm8$i\Vgbe,Wb`\aZhXm9UafY,Vb`*$.22$33$2655$1725
                                                                                                                                                                                                     11
                                                                                               11   :T\b`PZ#DTfXR]$q$>_\fT$:aZ_Xf8$X_\fT,TaZ_Xf9UafY,Vb`*$30220$031$2.74
                :g$;GL?*$jXteX$[XeX$gb$Zh\WX$lbh$XiXel$fgXc$bY$g[X$jTl$ba$lbhe$                12   DTfXR]#:Xbg#P\S#J]cbW$q$ETheT$AXeaTaWXm8$_TheT,[XeaTaWXm9UafY,Vb`*$30$33$3414+0321                        12
                \agXe`bWT_$]bheaXl,

                 o$$.0+3#Rcab][T`#ac^^]`b$i\T$FXffTZX$Nf$Tg$9EJ=*R][$be$g[X
                    MeTV^$Rbhe$L[\c`Xag$gbb_,

                 o$$;TSXRPbTS#bTP[#]U#X\bT`[]SPZ#a^TRXPZXaba$\aV_hW\aZ$`Te^Xg\aZ*
                    fT_Xf*$fXei\VX$WXf\Za*$geTafcbegTg\ba*$YTV\_\g\Xf$TaW$Vhfgb`Xe$fhccbeg,   <:FEFD@:#;<M<CFGD<EK+:8II@<I#G8IKE<I#:FEK8:KJ
                 o$$K`cRYX\V#P\S#]RTP\#RP``XT`#^P`b\T`a#jbe^$Tf$T$fXT`_Xff
                    fhccbeg$flfgX`,                                                           <:FEFD@:##                                             @EK<IE8K@FE8C##                         ;FD<JK@:##
                                                                                              ;<M<CFGD<EK                                            J8C<J                                   J8C<J
                 o$$:cab][XhTS#b`P\a^]`bPbX]\#P\S#SXab`XQcbX]\#a]ZcbX]\a$gb$`XXg              9CDM"N@<G"F@<?M"A<>DFDNS""                            9CDM"BLIOJ"G<H<B@M"L@F<NDIHMCDJM""       9CDM"BLIOJ"G<H<B@M"L@F<NDIHMCDJM""
                    lbhe$fcXV\!V$aXXWf,                                                       ?@P@FIJG@HN"<H?"MDN@"FI><NDIH&                        QDNC"DHN@LH<NDIH<F"><LLD@LM&             QDNC"?IG@MND>"><LLD@LM&

                                                                                              ;X`TRb]`(#:])C]RPbX]\#:]\bPRb                          :D8#:>D(#8GC(#?gc\SPX##                 8aaTb#9PaTS#:P``XT`a#
                                                                                              <Tel$AhgV[\aZf$                                        DT`RWP\b#DP`X\T                         MXeel$=hchl$
                                                                                              VTel,[hgV[\aZf9UafY,Vb`$                               Khfgl$EbbaXl$                           gXeel,Whchl9UafY,Vb`$
                                                                                              6/5+371+47/5                                           ^XaaXg[,_bbaXl9UafY,Vb`$                6/5+645+4345
                                                                                                                                                     6/5+645+4267
                                                                                              NTab#:])C]RPbX]\#DP\PVT`                                                                       @\bT`[]SPZ#DP`YTbX\V#:][^P\XTa
                                                                                              >e\V$@bbW`Ta                                           DPT`aY#CX\T(#FE<                        ETheT$LgXiXaf$
                                                                                              Xe\V,ZbbW`Ta9UafY,Vb`                                  =Ti\W$EbaZfjbeg[$                       _TheT,fgXiXaf9UafY,Vb`$
                                                                                              7/1+33/+233.                                           WTi\W,_baZfjbeg[9UafY,Vb`$$             6/5+013+351/
                                                                                                                                                     6/5+645+4201

                   FTe^Xg\aZ            LT_Xf         LXei\VX$=Xf\Za$ MeTafcbegTg\ba                                                                 DTS#JWX^^X\V(#<dT`V`TT\(##
                                                                                                                                                     ?P^PV#CZ]gS
                                                                                                                                                     <[e\f$@eTag$
                                                                                                                                                     V[e\f,ZeTag9UafY,Vb`$
                                                                                                                                                     6/5+645+.//6
                                                                                                                                                     :]aR]#JWX^^X\V(#FF:C(#OP\V#DX\V
                                                                                                                                                     F\V[X__X$E\h$
                                                                                                                                                     V[XaZWbaZ,_\h9UafY,Vb`$
                                                                                                                                                     6/5+645+.620

                                                                                                                                                     KWX`S)GP`bg#:P``XT`a#
                   ?TV\_\g\Xf         <hfgb`Xe$      EbTW$TaW$K\WX$$       >Vbab`\V$                                                                 LgXc[Ta\X$KX`\Z\b$
                                       Lhccbeg      Lb_hg\baf$'E:KL($     =XiX_bc`Xag                                                                fgXc[Ta\X,eX`\Z\b9UafY,Vb`$
                                                                                                                                                     6/5+645+.624
                                                                                                                                                                                                                                           Case: 1:21-cv-03072 Document #: 54-1 Filed: 10/07/21 Page 29 of 210 PageID #:551




06                                                                                                                                                                                                                                        07
                                                                                                                :
         @EK<IDF;8C#:8C<E;8I
Ab_\WTlf$TaW$^Xl$f[\cc\aZ$cXe\bWf$')Bg$\f$\`cbegTag$
gb$abgX$;GL?$bcXeTgXf$02-5$\aV_hW\aZ$`T]be$[b_\WTlf(




                                                                                                                                                                            A8EL8IO                                             J<GK<D9<I
              2021                                                                                                                                                          1         GXj$RXTetf$=Tl                            6          ETUbe$=Tl


               A8EL8IO#                           =<9IL8IO#                                                         D8I:?
               J    D    K    N    K    =    J    J       D        K        N        K        =        J            J       D       K       N       K       =       J
                                        -    2            1        2        3        4        5        6                    1       2       3       4       5       6
               3    4    5    6    7    8    9    7       8        9        10       11       -.       13           7       8       9       10      11      12      13
               10   11   12   13   14   15   16   14      15       16       17       18       19       20           14      15      16      17      18      19      20      =<9IL8IO                                            F:KF9<I
                                                                                                                                                                                                                                1-7        GTg\baT_$@b_WXa$PXX^)$
               17   18   19   20   21   22   23   21      22       23       24       25       26       27           21      22      23      24      25      26      27      12        EhaTe$GXj$RXTe)$
               24   25   26   27   28   29   30   28                                                                28      29      30      31                                                                                  11         <b_h`Uhf$=Tl
               31                                                                                                                                                           #4OH<L"6@Q";@<L"DM">@F@=L<N@?"<>LIMM",MD<"QDNC"
                                                                                                                                                                            P<LDIOM"F@HBNC"IA"P<><NDIH"?<SM"AIL"?DAA@L@HN"      #7>NI=@L"(MN"DM".CDH<VM"6<NDIH<F"/<S"CIFD?<S&
                                                                                                                                                                            >IOHNLD@M&"5<HOA<>NOLDHB"DM"B@H@L<FFS"C<FN@?"AIL"   9C@"*%?<S"CIFD?<S"ALIG"7>N&"(MN"NI"*NC"DM"><FF@?"
               8GI@C#                              D8O#                                                              ALE<                                                   NQI"Q@@EM"<AN@L"4OH<L"6@Q";@<L&"                    U2IF?@H":@@EV$"?OLDHB"QCD>C"IA!>@M"<L@">FIM@?"
               J    D    K    N    K    =    J        J       D        K        N         K        =       J            J       D       K    N          K       =       J                                                       <H?"MIG@"G<HOA<>NOLDHB"<L@"C<FN@?&
                                   1    .    3                                                              1                           1       2       3       4       5
               0    5    6    7    8    9    10       2       3         4        5        6        7        8           6       7       8       9    10      11      12
               11   12   13   14   15   16   17       9       10       11       12       13       14    15           13      14      15      16      17      18      19
               18   19   20   21   22   23   24    16         17       18       19    20       21       22           20      21      22      23      24      25      26
               25   26   27   28   29   30         23      24       25       26       27       28       29           27      28      29      30                                                                                 EFM<D9<I
                                                   30      31                                                                                                               8GI@C                                               11         OXgXeTaft$=Tl$
                                                                                                                                                                            2         @bbW$?e\WTl$                              25         M[Ta^fZ\i\aZ

               ALCO#                              8L>LJK#                                                           J<GK<D9<I                                               4         >TfgXe                                    26         ;_TV^$?e\WTl
               J    D    K    N    K    =    J    J       D        K        N        K        =        J            J       D       K       N       K       =       J                                                           29         <lUXe$FbaWTl
                                   1    2    3    1       2        3        4        5        6        7                                    1       2       3       4
               0    5    6    7    8    9    10   8       9        10       11       12       13       14           5       2       7       8       9       10      11
               11   12   13   14   15   16   17   15      16       17       18       19       20       21           12      13      14      15      16      17      18
               18   19   20   21   22   23   24   22      23       24       25       26       27       28           19      20      21      22      23      24      25
               25   26   27   28   29   30   31   29      30       31                                               26      27      28      29      30
                                                                                                                                                                                                                                ;<:<D9<I
                                                                                                                                                                            ALCO                                                25         <[e\fg`Tf$=Tl$
               F:KF9<I#                            EFM<D9<I#                                                         ;<:<D9<I#                                              4         BaWXcXaWXaVX$=Tl
                                                                                                                                                                                                                                31         GXj$RXTetf$>iX
               J    D    K    N    K    =    J        J       D        K        N         K        =       J            J       D       K    N          K       =       J
                                        -    .                1         2        3        4        5        6                                   1       2       3       4
               /    0    1    2    3    8    9        7       8         9       10       --       12       13           5       6       7       8       9    10      11
               10   --   12   13   14   15   16    14         15       16       17    18          19    20           12      13      14      15      16      17      18
               17   18   19   20   21   22   23    21      22       23       24       .1       .2       27           19      20      21      22      23      24      .1
               24   25   26   27   28   29   30    28      .5       30                                               26      27      28      29      30      /-
               31
                                                                                                                                                                                                                                                                               Case: 1:21-cv-03072 Document #: 54-1 Filed: 10/07/21 Page 30 of 210 PageID #:552




  1.                                                                                                                                                                                                                                                                         1/
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BE DIRECT AND
   GO WEST.




                                                                          Q\aU*R][
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                            EXHIBIT B
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                         EXHIBIT 1
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                                                                          BNSF00001
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                                                                          BNSF00002
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                                                                          BNSF00003
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                                                                          BNSF00004
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                                                                          BNSF00005
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                                                                          BNSF00006
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                                                                          BNSF00007
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                                                                          BNSF00008
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                                                                          BNSF00009
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                                                                          BNSF00010
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                                                                          BNSF00011
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                                                                          BNSF00012
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                         EXHIBIT 2
                            Track Chart
                        Chicago Subdivision
                           #12-,07> %& :7 '76:075/8=> %&
                                       '* @?@ :7 '* BA?@
                                       See each page for latest revised date.




                                                                                $78<,8. ,44 -788/-:2769 ,6. -1,60/9 :7
                                                                                       "(+$ );:4773 ,..8/99
"(+$ +=9:/5 ',26:/6,6-/ ,6. *4,66260                                            ENGRMASTERDATAMGMT@BNSF.COM
                                                                                                                              Case: 1:21-cv-03072 Document #: 54-1 Filed: 10/07/21 Page 49 of 210 PageID #:571




                                                                                                                  BNSF00013
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                                                                                                          BNSF00014
                                                                                   BNSF Railway Company
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      MILEPOST NUMBER
   554                                                          5477'                                                                                       553                                                                                                      5280'                                                                                                                                                       552                                                  MILE LENGTH
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       TRACK CHART FEATURE LEGEND
                                                                                                                                                           CTC                                                                                                                                                                                                                                                                                                                        METHOD OF OPERATION




                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Oper.
                                                                                                                                                                     CTC                                                                                                                                                                                                                                                                                                                                               NOTES
                                                                                                                                                           70F                                                                                                                                                                                                                                                                                                                        MAIN 1 OR 3 SPEEDS               BRIDGES
                                                                                                                                                                     90P
                                                                                                                                                           70F                                                                                                                                                                                                                                                                                                                        MAIN 2 OR 4 SPEEDS               THE MILEPOST LOCATION OF A BRIDGE IS THE LOW MILEPOST END OF THE BRIDGE.




                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Speed
                                                                                                                                                                     79P
                                                                                                                                                                                               40P                                                                                                                                                                                                                                                                                    SIDING SPEED                     CURVES
                                                                                                                                                                             40F
                                                                                                                                                                  0552A                                                                                                                                                                                                                                                                                                               CURVE RIGHT                      AN "*" AFTER THE CURVE NUMBER INDICATES THE CURVE IS COMPOUND.
                                                                                                                                                                  0° 59'                                                                                                                                                                                                                                                                                                              MAIN 1 OR 3 TANGENT
                                                                                                                                                                                                                                                                            0552                                                                                                                                                                                                                                       PLEASE REFER TO ADDITIONAL RESOURCES FOR FULL CURVE CHARACTERISTICS.
                                                                                                                                                                                                                                                                            1° 0'                                                                                                                                                                                                     CURVE LEFT
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       TRACK SIDE (LEFT OR RIGHT) FOR CURVE IS ACCORDING TO INC MP DIRECTION.




                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Curve
                                                                                                                                                                  0552A                                                                                                                                                                                                                                                                                                               CURVE RIGHT                      GRADE
                                                                                                                                                                  0° 59'                                                                                                                                                                                                                                                                                                              MAIN 2 OR 4 TANGENT              GRADE IS SHOWN PERIODICALLY WHERE THE GRADE CHANGES ARE TOO NUMEROUS
                                                                                                                                                                                                                                                                            0552                                                                                                                                                                                                      CURVE LEFT
                                                                                                                                                                                                                                                                            1° 0'                                                                                                                                                                                                                                      OVER SHORT DISTANCES TO CLEARLY SHOW.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       GRADE IS TYPICALLY DISPLAYED FOR LOWEST-NUMBERED MAIN ON THE PAGE.


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      ELEVATION
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       MILEPOST
                                 1101.6!(                                                                                                                         1152.7!(                                                                                                                                                                                                                   1212.6!(                                                                                                                  ALPHA CHARACTER MILEPOSTS INDICATE DUPLICATION OF NUMBERS WITHIN A SUB OR
                  (
                  !                             -0.89                                                                                                                                                                                                                                    1194.8
                                                                                                                                                                                                                                                                                                                                                (
                                                                                                                                                                                                                                                                                                                                                !                                                                                                                                                                      MAIN 1 HAS DIFFERENT ALIGNMENT THAN MAIN 2.
                                                                                                                                                                                                                                                                                                                                                                                        -0.79




                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Grade
                                                                                                                                                                                                                                                                                          (
                                                                                                                                                                                                                                                                                          !
        -1.13                                                                                                                            -1.14                                                                                                                                                                                                  -1.37
                                                                1139.2                                                                                                                                               1175.7                                                                                                                                                                                                                             1229.3                        GRADE LINE
                                                                        (
                                                                        !                                                                                                                                                                                           (
                                                                                                                                                                                                                                                                    !                  -1.62                                                                                                                                                                      (
                                                                                                                                                                                                                                                                                                                                                                                                                                                                  !
                                                                                                                                                                                                                         (
                                                                                                                                                                                                                         !
                                                                                                                                                                                                                                                                    -1.53                                                                                                                                                                                                                                              TRACK
                                                     -1.06                                                                                                                   -1.01                                                                                                                                                                                                                                                         -1.11                                                                       MAIN LINES ARE SHOWN WITH A BOLD LINE.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      GRADE
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       TRACK NUMBERS MAY NOT BE AVAILABLE FOR ALL TRACKS.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       TRACK NUMBERS MARKED WITH AN * ARE UNKNOWN.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   BNSF CONTROLS TRAIN MOVEMENT


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   FOREIGN RR OTHER THAN BNSF CONTROLS TRAIN MOVEMENT

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      PLAN VIEW MILEPOST
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      AND FEATURE DISCRIPTION                      INDUSTRY CONTROLS TRAIN MOVEMENT

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       RAIL
                                                                                                                                                            INDUSTRY                                                                                                                                                                                                                                                                                                                                                   WELDED RAIL IS SHOWN WITH A BOLD LINE. BOLTED RAIL IS SHOWN WITH A THIN LINE.
                                                                                                                                                            TRACK




                                                                                                                                                                                                                                                                                                                                                                                                                                               .747 SIG 0




                                                                                                                                                                                                                                                                            .500 HBD




            .856 NO. 10 T.O. (5591)
                                          .688 NO. 20 T.O. (5530W)
                                          .664 NO. 24 T.O. (0553W)
                                          .580 NO. 24 T.O. (0553E)
                                                                                                                   .178 RAIL LUB (U)
                                                                                                                                                                                       .687 NO. 10 T.O. (5591)
                                                                                                                                                                                                                                                                                                                                                                                                                                               .745 NO. 24 T.O. (0551W)
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                                                                                                                                                                                                                                                                                                                                                                                                                                               .629 NO. 20 T.O. (5530E)




            .900 PUB XNG 025247B 2ND ST
                                          .765 XNG 945652F RR USE
                                          .755 SIG 0 (2)
                                          .573 SIG 0 (3)
                                                                             .415 PRI XNG 025274X PRIVATE
                                                                                                                                                                                                                                                                                                                                                       .200 BRI 552.20 6- 14' PCT (3)
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                                                                                                                                                                                                                                                                                                                                                                                                                                               .609 SIG 0 (2)




                                                                                                                   .211 PRI XNG 967465J PRIVATE (LOCAL)
                                                                                                                                                                                                                         .600 PUB XNG 025265Y YUCCA OH I40 (I-40)
                                                                                                                                                                                                                                                                                           .301 CUL 48" X 16' CP; 48" X 20' CIP; 48" X 20' CI
                                                                                                                                                                                                                                                                                                                                                                                         .100 PUB XNG 025276L AZ SH 95 (AZ 95)
  AT GRADE                                        XNG BUCKS                                                 UNDERPASS                                                              OVERPASS
                                                                                                                                                                                                                                                                                                                                                                                                                                      MAIN/                                                                            TIES
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XNG                                                                                                                                                               LINE SEGMENT                                                                  CULVERT                                                                                                                                                                                 CROSSOVER
GATES                                                                           SIGNAL                                                                            & CLIC NUMBER
                                                                                                            LUBRICATOR                                                                                                                               BRIDGE                                                          XNG
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       DETAIL PAGES
                                                                                                                                                                                                                                                                                                                                                                                                                                        SIDING/YARD/                                                                   DETAIL SCHEMATIC (TEAM) PAGES CONTAIN SEPARATE LEGEND FOR TRACK OWNERSHIP
                                                                     DERAIL                                                                                                                                                                                                                                          FLASHERS                                                                                                           BACK TRACK                                                                     AND MAINTENANCE INFORMATION. REFER TO THOSE PAGES FOR APPLICABLE LEGEND
                                                                                                                                                                  FRANCONIA                                                                                                                                                                                                                                                                                                           STATION NAME
 FOREIGN
                                                                                                                                                                      MP 552.8                                                                                                                                                                                                                                                                                                        STATION MILEPOST                 DEFINITIONS.
 TRACK
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            136                                                                                                              136                                                                                                                                            141                                                                                                                                                         136                                           WEIGHT - YEAR
            1984                                        ³                                                                    1984                                                                                                ³ ³                                        2008                                                                 ³ ³                                                                                   1984
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                                                                                                                            1984                                                                                                                                                                                                                                                                                                        1984                                          WEIGHT - YEAR                    TRACK CHART USAGE
                                                                                                                                                     2004            2012                                                                                                    1987
                                                                                                               ³                                                                                                                                                                                                                                                                                                                                            ³                         MAIN 1 OR 3 - YEAR               THIS TRACK CHART IS TO BE USED FOR REFERENCE ONLY.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Tie




                                                                                                                                                           1998      2012          1988                                                                                                 1982
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                                                                            2013                                                                                                                                                                                                                                                                                                                                                                                                      SHOULDER BALLAST CLEANING YEAR
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                                                                                                                                                                                                                                                                                                                                                           2013                                                                                                                       UNDERCUT YEAR
                                                                                                                                                                     2001                                                                                                                                                                                                                                                                                                             SHOULDER BALLAST CLEANING YEAR
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Case: 1:21-cv-03072 Document #: 54-1 Filed: 10/07/21 Page 51 of 210 PageID #:573




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FILE: Y:\drawings\trkchrts\ASTC\MXD_Files\TC_Legend.mxd
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       BNSF00015
Track Chart Abbreviations
Track and Signal                                            Miscellaneous                    Bridges
ABD        ACOUSTIC BEARING DETECTOR                        AVE      AVENUE                  BASC   BASCULE                                                            TPG    THRU PLATE GIRDER
ABS        AUTOMATIC BLOCK SIGNAL SYSTEM                    BLVD     BOULEVARD               BD     BALLAST DECK                                                       TPLG   THRU PLATE LATTICE GIRDER
AEI        AUTOMATIC EQUIPMENT IDENTIFICATION DETECTOR      CO       COUNTY                  BDPT   BALLAST DECK PILE TRESTLE - TIMBER                                 TRT    THRU RIVETED TRUSS
ATS        AUTOMATIC TRAIN STOPS                            CONN     CONNECTION              BM     BEAM SPAN                                                          TSBX   PRESTRESSED THRU VOID, SINGLE CELL, CONC. BEAM OR GIRDER
BFD        BROKEN FLANGE DETECTOR                           CONST    CONSTRUCTED             BPT    BALLAST DECK TIMBER TRESTLE                                        VTEE   PRESTRESSED THRU VOIDED CONCRETE TEE GIRDER
BR SIG     BRIDGE SIGNAL                                    CR       CREEK OR CRUSHED ROCK   BR     BRIDGE                                                             WWX    NO WALKWAY
CANT SIG   CANTILEVER SIGNAL                                DBL      DOUBLE                  CA     CONCRETE ARCH                                                      WWL    WALKWAY LEFT SIDE WHEN VIEWING FROM LOW MP END OF BRIDGE
CTC        CENTRALIZED TRAFFIC CONTROL                      DIV      DIVISION                CEBM   BEAM SPAN CONCRETE ENCASED                                         WWR    WALKWAY RIGHT SIDE WHEN VIEWING FROM LOW MP END OF BRIDGE
DED        DRAGGING EQUIPMENT DETECTOR                      DR       DRIVE                   CIP    CAST IRON PIPE                                                     WWB    WALKWAY BOTH SIDES
DESLTD     DRAGGING EQUIP. & SHIFTED LOAD W/ TOP DETECTOR   E        EAST                    CP     CONCRETE PIPE
F          FREIGHT (SPEED)                                  EL       ELEVATION               CUL    CULVERT
F/G        FLASHING SIGNAL WITH AUTOMATIC GATES             F LT P   FLOOD LIGHT POLE        DBOX   PRESTRESSED DOUBLE CELL CONCRETE BOX GIRDER
FL         FLASHING SIGNAL                                  F LT T   FLOOD LIGHT TOWER       DBXS   PRESTRESSED THRU VOID, DBL. CELL, CONC. BOX GIRDER, SLOPED CURBS
HBD        HOT BEARING DETECTOR                             FRT      FREIGHT                 DPCT   DECK PLATE CONNECTED TRUSS                                         Culverts
HWD        HIGH WATER DETECTOR                              GR       AT GRADE                DPCT   DECK TRUSS PIN CONNECTED                                           BXC    CONCRETE BOX
I TOWER    INTERLOCKING TOWER                               HO       HOUSE                   DPG    DECK PLATE GIRDER                                                  BXC2   CONCRETE DOUBLE BOX
INTLK      INTERLOCKING                                     HWY      HIGHWAY                 DPLG   DECK PLATE LATTICE GIRDER                                          BXC3   CONCRETE TRIPLE BOX
LS         LINE SEGMENT                                     IND      INDUSTRY                DRT    DECK RIVETED TRUSS                                                 BXCM   CONCRETE MULTI-OPENING BOX
MP         MILEPOST                                         JCT      JUNCTION                DS     SWING SPAN                                                         BXM    MASONRY BOX
NO         NUMBER                                           JT       JOINT                   EGIR   MISC. POST-TENSIONED CONCRETE GIRDER                               BXM2   MASONRY DOUBLE BOX
OCS        OCCUPANCY CONTROL SYSTEM                         LT       LEFT                    EXT    EXTENSION                                                          BXMM   MASONRY MULTI-OPENING BOX
OH         OVERHEAD                                         MAX      MAXIMUM                 LS     LIFT SPAN                                                          BXT    TIMBER BOX
OOS        OUT OF SERVICE                                   MIN      MINIMUM                 MA     MASONRY ARCH                                                       BXT2   TIMBER DOUBLE BOX
P          PASSENGER (SPEED)                                MTCE     MAINTENANCE             MGIR   MISC. CONCRETE GIRDER                                              BXTM   TIMBER MULTI-OPENING BOX
RES LIM    RESTRICTED LIMITS                                NO       NORTH                   OD     OPEN DECK                                                          CAPA   CORRUGATED ARCH PIPE, ALUMINUM
RL         RAIL LUBRICATOR                                  OH       OVERHEAD                OPT    OPEN DECK TIMBER TRESTLE                                           CAPS   CORRUGATED ARCH PIPE, STEEL
S SW       SPRING SWITCH                                    OP       OVERPASS                PCT    PRESTRESSED CONCRETE TRESTLE SLAB                                  CIP    CAST IRON PIPE
SBC        SHOULDER BALLAST CLEANING                        PED      PEDESTRIAN              PGIR   PRESTRESSED MISC. CONCRETE GIRDER                                  CP     CONCRETE PIPE
SIGS       SIGNALS                                          PK       PARKWAY                 PPCT   PONY TRUSS PIN CONNECTED                                           CPA    CORRUGATED PIPE, ALUMINUM
SLD        SHIFTED LOAD DETECTOR                            PO       POWER                   PRT    PONY RIVETED TRUSS                                                 CPP    CORRUGATED PIPE, PLASTIC
SLTD       SHIFTED LOAD WITH TOP DETECTOR                   PSGR     PASSENGER               PTT    PONY TRUSS TIMBER                                                  CPS    CORRUGATED PIPE, STEEL
TO         TURNOUT                                          PUB      PUBLIC                  RAIL   RAIL STRINGER                                                      EPC    ELLIPTICAL PIPE, CONCRETE
TRK        TRACK                                            PVT      PRIVATE                 RCT    REINFORCED CONCRETE TRESTLE                                        MP     MASONRY PIPE
TWC        TRACK WARRANT CONTROL                            RD       ROAD                    SA     STEEL ARCH                                                         PAC    CONCRETE ARCH PIPE
UC         UNDERCUT                                         RIV      RIVER                   SBG    STEEL BOX GIRDER                                                   PL     CLAY TILE PIPE
WILD       WHEEL IMPACT LOAD DETECTOR                       RR       RAILROAD                SBOX   PRESTRESSED SINGLE CELL CONCRETE BEAM OR GIRDER                    PP     PLASTIC PIPE, SMOOTH WALL
YL         YARD LIMIT                                       RT       RIGHT                   SGIR   MISC. STEEL GIRDER                                                 PS     STEEL PIPE, SMOOTH WALL
                                                            RW       RIGHT OF WAY            STEE   PRESTRESSED THRU VOIDED CONCRETE SUPER TEE GIRDER                  PSAP   STRUCTURAL STEEL ARCH PLATE PIPE
                                                            RY       RAILWAY                 TDBX   THRU VOID, DBL CELL PRES. CONC. BEAM OR GIRDER                     PSP    STRUCTURAL STEEL PLATE PIPE
                                                            SEC      SECTION                 TDBX   PRESTRESSED THRU VOID, DBL. CELL, CONC. BOX GIRDER                 PV     VITREOUS PIPE, SMOOTH WALL
                                                            SO       SOUTH                   TEE    PRESTRESSED CONCRETE TEE GIRDER
                                                            ST       STREET                  THT    THRU TIMBER TRUSS
                                                            STA      STATION                 TIM    MISC. TIMBER SPAN
                                                            SUB      SUBDIVISION             TPCT   THRU PLATE CONNECTED TRUSS
                                                            TPL      TRIPLE
                                                            UP       UNDERPASS
                                                            W        WEST
                                                            XBUCKS   CROSSBUCKS
                                                            XING     CROSSING
                                                            YD       YARD
                                                                                                                                                                                                                                          Case: 1:21-cv-03072 Document #: 54-1 Filed: 10/07/21 Page 52 of 210 PageID #:574




                                                                                                                                                                                                                 BNSF00016
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                           EXHIBIT C
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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS




                   DECLARATION OF RENATO MARIOTTI
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                            EXHIBIT E
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                                                                      Page 1

1                       UNITED STATES DISTRICT COURT
2                 FOR THE NORTHERN DISTRICT OF ILLINOIS
3                               EASTERN DIVISION
4
5       BNSF RAILWAY COMPANY,                     )
6                           Plaintiff,            )
7                 vs.                             )    No. 21-cv-3072
8       TOWN OF CICERO, ILLINOIS,                 )
9                           Defendant.            )
10
11             The videotaped deposition of LIDO MANETTI,
12      called by the Plaintiff for examination, taken
13      pursuant to the Federal Rules of Civil Procedure of
14      the United States District Courts pertaining to the
15      taking of depositions, taken before Daniel M.
16      Priscu, a Certified Shorthand Reporter of the state
17      of Illinois, at 55 E. Monroe Street, 37th Floor,
18      Chicago, Illinois, on the 29th day of June, A.D.
19      2021, at 9:59 a.m.
20
21
22
23
24


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1              A        As far as back as I know, going back to
2       the 80's, they always charge per acreage on
3       railroad.
4              Q        Do you know why that started?
5              A        That was before my time.              I don't know.
6              Q        Looking at paragraph three, the ordinance
7       charges the railroads a rate per acre.
8              A        Correct.
9              Q        Why are railroads charged per acre?
10             A        Well, what I do know is that the railroads
11      with the acreage fee is there because they                    the
12      water service -- I mean our sewer system more than a
13      residential house.          They're wide open.            Some places
14      have higher grades.           Some is all concrete now.
15                      Residential houses, a lot of them have an
16      ordinance they have to follow.                   They have to have so
17      much grass and everything.                They can't be all
18      concrete in their yards.              And that's always been on
19      the books because of how much more they can dump
20      into our system.
21             Q        So you mentioned, you talked about
22      residential service.            Why are railroads treated
23      different than, let's say, a shopping mall that has
24      a large parking lot?


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1              A        This has always been the way it is.               We
2       are looking at changing ordinances and other aspects
3       of other large properties.
4                       This has all come it light now, so we've
5       been looking at it.
6              Q        Okay.   But as you sit here today, do you
7       know of an explanation as to why, for example, a
8       shopping mall with a large parking lot would have it
9       to be charged at a lower rate than a railroad?
10                      MS. GRANDFIELD:       I'm just going to object
11      to the extent it's an incomplete hypothetical and
12      lacks foundation.
13                      Go ahead and answer to the extent you can.
14                      THE WITNESS:     Can you start over?
15                      MR. MARIOTTI:      Yes.      Let me repeat.
16                      And your objection can stand to my
17      question, but I'll repeat the question.
18      BY MR. MARIOTTI:
19             Q        Are you aware of any -- are you aware of
20      why -- let me strike that question.
21                      Why are properties like shopping malls
22      treated differently than railroads?                 Do you know
23      why?
24                      MS. GRANDFIELD:       Same objection as before.


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1                       THE WITNESS:     I don't know why.          I know
2       this has always been the way they billed it when I
3       came into the office of the Water Department.
4       BY MR. MARIOTTI:
5              Q        Okay.   What about, for example, a factory,
6       do you know why factories are charged at a lower
7       rate than railroads?
8                       MS. GRANDFIELD:       Objection, lack of
9       foundation, incomplete hypothetical.
10                      THE WITNESS:     You know, that's kind of --
11      I don't understand.         It isn't all true.
12      BY MR. MARIOTTI:
13             Q        Okay.
14             A        Because we have commercial properties that
15      have a small area of land, and their sewer bill for
16      a month is about 10 percent of what the railroad is,
17      but they have, like, 10 or 11 acres, and the
18      railroad has a couple hundred acres.                 So, I mean, I
19      can't say they are all being charged more.
20             Q        Okay.   Why are factories charged by usage
21      instead of acreage?
22             A        That's how it was when I came in, and the
23      Town kept it the same way, but we are looking at
24      changing some ordinances.


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1              Q        And so exactly how was that considered by
2       you?
3              A        There's a greater taxing -- well, I won't
4       use "taxing," but there's a greater -- more water
5       jumps into our system because of the railroad than
6       on a normal house.
7                       If you stand by the railroad yard, see the
8       water running off because it's all been raised a
9       couple feet over the last ten years, and you can see
10      the water just -- water falling off in certain
11      areas.
12             Q        So you made reference to how Amazon
13      handles their property, right, at the MWRD?
14             A        Yes.
15             Q        There are a lot of other commercial and
16      industrial properties in Cicero; is that fair to
17      say?
18             A        Yes.
19             Q        And do you know how whether or not they
20      have issues regarding runoff?
21             A        I would say some do, and we're looking
22      into that right now.
23             Q        But they're currently charged based on
24      usage and not acreage, correct?


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1              A        Correct.
2              Q        Even though they have runoff issues?
3                       MS. GRANDFIELD:         Objection, lack of
4       foundation.
5       BY MR. MARIOTTI:
6              Q        You can answer, unless --
7                       MS. GRANDFIELD:         Yes, unless I tell you
8       not to answer, Lido.
9                       THE WITNESS:       So what was the question?
10      I'm so sorry.
11                      MR. MARIOTTI:        That may be part of the
12      point here.
13      BY MR. MARIOTTI:
14             Q        So the properties that have runoff issues
15      are still charged based on usage and not acreage,
16      correct?
17             A        Currently.
18                      MS. GRANDFIELD:         Objection, lack of
19      foundation.
20      BY MR. MARIOTTI:
21             Q        And have you done any study to determine
22      whether or not certain properties have runoff
23      issues?
24             A        You mean an official study or a visual?


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1               Q       Well, let me step back and ask it this
2       way.
3                       What steps have you taken to determine
4       whether properties on Cicero have runoff issues?
5               A       During bad storms, we've been going out to
6       them, looking at them, seeing what's going on in
7       different areas, see what's happening.                  We've done
8       that.       We haven't done an engineering study.
9               Q       Do you have anything in writing that
10      memorializes your visual look at these properties?
11              A       No.
12              Q       And what properties have you looked at?
13              A       Well, I looked at Waste Management on 39th
14      and Laramie.          I looked at Kropp Forge, I believe it
15      is, on 12th and 54th Avenue.                I've looked at other
16      properties on 54th Avenue off of Roosevelt at 13th
17      Street, the railroad yards.                What's the other one?
18      Oh, man, I don't know the name of it.                  It's on 32nd
19      and Central.          It's a big company over there.             We've
20      looked at them also that have a lot of pavement.
21                      I've looked on Cicero Avenue by Hawthorne
22      Works, as well as by the Target, Home Depot, in
23      those areas.
24                      The Target and Home Depot, they have --


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1              Q        Runoff issues.
2              A        Runoff issues?       Yes.       I just mentioned
3       quite a few that I looked at that have a lot of
4       water that runs off.
5              Q        So all those ones that you mentioned a
6       moment ago, they all have runoff issues?
7              A        Yes.
8              Q        But currently of all of them, the only one
9       that's charged based on acreage is the railroad; is
10      that correct?
11             A        No.    We also have the Hawthorne Racetrack.
12             Q        So those two are charged by acreage?
13      Everyone else is not; is that correct?
14             A        Currently.
15             Q        Is BNSF the only railroad in Cicero?
16             A        No.
17             Q        Who are the other railroads in Cicero?
18             A        I don't know the names.              There's, like,
19      three other railroads that get billed for the same
20      ordinance acreage.           And then CTA.
21             Q        The CTA is not billed this way, right?
22             A        So far.
23             Q        Well, why not?
24             A        It was never billed like that when I came


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1              Q        Very small, right?
2              A        Yes.
3              Q        Less than 1 acre?
4              A        No, it's more than 1 acre.           I don't know
5       the size, though.
6              Q        But they each have rail yards, as well?
7              A        They have railroad tracks.           The one I
8       don't know if it has a yard, and the yards are much,
9       much smaller, like, maybe two or three tracks,
10      that's it, in a certain area, and then it goes all
11      back into one track.
12             Q        What part of Cicero is that in, those
13      tracks?
14             A        The south.
15             Q        The south end?
16             A        Yes.    If you're going down -- did you ever
17      go to the racetrack?
18             Q        Sure.    I've been to Cicero before, quite a
19      few times.
20             A        There's the tracks that are right by where
21      Sportsman's Racetrack used to be, right there, and
22      that's one of them.
23             Q        Have you ever measured the amount of
24      runoff that any property has had in Cicero?


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1              A         I just visually looked at them.
2              Q         How does runoff impact the cost to
3       maintain the sewer system?
4              A         Well, what happens is the more water that
5       runs off, sometimes the flow rates get much greater
6       inside of them.          Also, what happens is -- I think
7       I'm confusing myself with this.                  How much does
8       the -- I know with the runoff how it taxis the
9       system.         It goes through the pipes a lot quicker.
10      What was --
11             Q         Yes, that was my question is how the
12      runoff impacts the cost to maintain the system.
13             A         To maintain it, that's part of it, yes.
14             Q         Okay.   Is there any other part?
15             A         Well, we have to look now about possibly
16      changing the way we do the viaduct now and
17      everything because we're having such a great runoff
18      over that area.          So we're going to have to start
19      looking at new ways to divert the rain or change
20      some sewer systems in that area.
21             Q         And do you know, as you sit here today,
22      how much water runoff there is from BNSF's property?
23             A         No.
24             Q         I take it that Cicero has never measured


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1       or calculated that runoff; is that right?
2              A        When I was here, no.
3              Q        And has Cicero ever compared the runoff
4       from one property to another in the town, the amount
5       of runoff?
6              A        Without visually seeing, yes.             Is that
7       what you're asking?
8              Q        Yes, just through visual.
9              A        Just through visual, yes.
10             Q        Are you familiar with the term
11      "impermeable surfaces"?
12             A        Well, you have the surfaces that allow
13      water to drain through, and then you have the
14      surfaces that, like, if you drop water here, it's
15      going to run off onto my shoes, but if we put it in
16      the plant, it's just going to suck in and not make a
17      big splash.
18             Q        So has Cicero ever calculated the amount
19      of impermeable surfaces on different properties
20      within the Town of Cicero?
21             A        Not to my knowledge, but when they do new
22      construction, I don't know if the Building
23      Department does it, but we do have an outside
24      service company that reviews all built new building


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1               A       Yes.
2               Q       Why not for other users?
3               A       Because we already had one with acreage,
4       and this is acreage, that we haven't adjusted the
5       railroad rates in a long time.
6               Q       And why didn't you adjust the commercial
7       and industrial service rate at the same time?
8               A       The current time wasn't -- I didn't think
9       it was necessary.
10              Q       Why not?
11              A       I thought they're struggling, going
12      through this pandemic at the current time, and I
13      thought that we'll be looking at that at another
14      time.       And I thought currently since we already had
15      one that we were charging for acreage, we should
16      look at all acreage at the same time.
17              Q       So you say we should look at all acreage
18      at the same time.
19                      Is there anyone else being charged per
20      acre other than the railroads?
21              A       Yes.
22              Q       Who?
23              A       Hawthorne Racetrack.
24              Q       And so, essentially, this change impacted


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1       the railroads, but did it impact Hawthorne
2       Racetrack?
3              A        Yes.     Hawthorne Racetrack was -- I don't
4       know the date it was passed, but they did the same
5       type of an ordinance for Hawthorne Racetrack back, I
6       think, in June, July of 2020, one of those board
7       meetings, one of those full board meetings.                    I'm not
8       sure of the exact one.
9              Q        So the first move was to increase the fee
10      for Hawthorne Racetrack.              Why Hawthorne --
11             A        Well, not to increase the tax.             They
12      charged them a fee, because we've never charged them
13      a fee, and we found out that they've been dumping
14      into our sewer system.
15             Q        Okay.     And then you made a decision to
16      increase the rate on railroads, as well?
17             A        Yes.
18             Q        And why railroads and no one else?
19             A        Well, because we're doing acreage at the
20      current time.           We're doing properties, not
21      railroads, acreage properties.
22             Q        Why would you only look at acreage
23      properties and not at other properties?
24                      MS. GRANDFIELD:         Objection, asked and


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1       answered.
2                        THE WITNESS:       We looked at the acreage
3       properties.            I suggested we look at them because we
4       already put the ordinance in with Hawthorne.
5       BY MR. MARIOTTI:
6              Q         And why not charge commercial industrial
7       service by acreage?
8              A         We were over that.           We never charged them
9       that way.         When I came into the job, that's the way
10      it was.         We never charged them that, but we are
11      looking into it now.
12             Q         So that's just the way you've always done
13      it?
14             A         That's the way it's always been done.
15             Q         And you mentioned that others, like in
16      commercial and residential service, had hardships
17      due to the pandemic.             Was it your view that the
18      railroad did not?
19             A         No.
20             Q         It was your view that they didn't have
21      hardship?
22             A         I didn't have either yes or no on that
23      railroad.
24             Q         Then why decline to raise the rate on


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1              Q        And do you believe that there was an
2       increase in flooding prior to the enactment of this
3       fee increase?
4              A        Well, it's been increased over the last
5       ten years with the railroad.                We do get a huge
6       runoff there now.          I mean, it's something you should
7       see.       And the water comes off like -- literally like
8       a waterfall off their property.
9                       Their property has been raised
10      approximately 3 feet, and they put sewers in because
11      it used to be all dirt with the tracks.                   Now they
12      put all those trucks -- they store all the trucks,
13      and everything is concrete, so it all dumps into our
14      sewer system.          And it starts filling it up, and then
15      we get surcharge, and we get too much water in our
16      system.
17             Q        So this has been an issue for about ten
18      years?
19             A        Yes.
20             Q        But you didn't raise the rates until --
21             A        We might have raised them in the past.
22             Q        But this was an increase of over 12 times
23      what the previous rate was; is that right?
24             A        Yes, I guess.


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1              Q        Why such a large increase?
2              A        I don't know.
3              Q        Did you suggest that?
4              A        I don't recall who suggested it.
5              Q        But you said you had conversations with
6       Mr. Geary?
7              A        Yes.
8              Q        And what was the substance of those
9       conversations?
10             A        Just about looking into everything with
11      water runoff.          We weren't just talking about this.
12      We're going to be looking into everything.
13             Q        But you discussed the need to increase the
14      fees for railroads with Mr. Geary?
15             A        Minor, yes.
16             Q        What did you guys talk about?
17             A        It was about eight months ago.             I don't
18      recall the whole conversation.
19             Q        But what do you recall?
20             A        I don't know, just talking about the rates
21      and how much water we get, how much flooding we're
22      getting from them.
23             Q        Just to be clear, you have no text
24      messages regarding this rate increase?


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1              A        No.
2              Q        You never sent e-mails regarding this rate
3       increase?
4              A        I might have been on one, but I don't send
5       e-mails.
6              Q        And so you don't use e-mail at all?                 Is
7       that your testimony?
8              A        Very, very rare.
9              Q        And the e-mail chain you're on, who else
10      is on it?
11             A        I would have to look at e-mails.              I'm
12      assuming Courtney and Tim.
13             Q        Courtney is the attorney you mentioned
14      earlier?
15             A        Yes.
16             Q        Anything, any documents in writing
17      regarding this rate increase before it happened
18      other than that e-mail chain that we just talked
19      about?
20             A        No.     That's all I can recall.
21             Q        Do you remember who came up with the idea
22      of increasing the rate on railroads?                  Was that you?
23             A        I mentioned it.
24             Q        Okay.     And who did you mention it to?


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1              A        I probably mentioned it to our attorney.
2       I mentioned to them that we have to look into the
3       possibility to make an adjustment on the rates.
4              Q        And I don't want to ask you anything
5       further about that conversation.
6                       Did you raise the idea with anyone else?
7              A        Tim Geary I know I spoke to.
8              Q        And was there anyone else in Cicero who
9       was pushing for an increase of sewer rates for
10      railroads?
11             A        I don't think anybody was really pushing.
12      None that I know of.
13             Q        Did you ever speak to any members of the
14      Board of Trustees about this increase to sewer rates
15      on railroads?
16             A        Prior or after?
17             Q        Prior.
18             A        Prior?   Not to my knowledge.
19             Q        How did the Board get information related
20      to this increase?
21             A        They get it on their Board Agenda.               And
22      then I'm at all the meetings.                 If anyone has
23      questions, they would call for me to come up and
24      answer them.


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1               Q       Did anyone have questions during the
2       meeting?
3               A       No one called me up.
4               Q       Was there any discussion of this ordinance
5       at the meeting?
6               A       I really don't recall.                It may have been
7       minor.      I don't know.
8               Q       Very minimal?
9               A       Yes.   If it was, it would be in the
10      minutes, I would assume.
11              Q       But nothing that you remember?
12              A       No, sir.
13              Q       And since that time, since the ordinance
14      was passed, have you had discussions with the Board
15      about this rate increase?
16              A       Not with the Board, but one Board member I
17      mentioned that I have to go to a deposition about
18      this.
19              Q       And what Board member was that?
20              A       Joe Virruso.
21              Q       And what was Joe's response?
22              A       Good luck.
23              Q       And did you and Joe talk about anything
24      else related to this rate increase?


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1              Q        Now, was there some reason why Joe
2       Virrusso was the one who made the motion for this
3       particular ordinance?
4              A        Not to my knowledge, no.
5              Q        You never discussed it with him
6       beforehand?
7              A        No.    I talked to him after about this, not
8       before.
9              Q        Do you know what Joe Virruso's role was
10      with this particular ordinance other than what you
11      see here in front of you?
12             A        Nothing else.
13             Q        Prior to this rate increase, when was the
14      last time that Cicero raised sewer rates on
15      railroads?
16             A        I couldn't answer that.              I don't know.
17             Q        If you go to page 3.
18             A        Yes.
19             Q        You can see that on paragraph 3 it says
20      that, "Railroads shall be charged for the use and
21      service of the sewer system at the rate of" -- and
22      then it used to be $27.42 per month that's crossed
23      off, and then it was changed to 350.
24                      Do you know how the $27.42 rate was


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1       calculated?
2              A        I do not.
3              Q        Do you know what the basis for that rate
4       was?
5              A        No, I don't.
6              Q        Do you know how long that rate had been in
7       effect?
8              A        No, sir.
9              Q        Has it been in effect the entire time
10      you've been at the Water Department?
11             A        To the best of my knowledge.
12             Q        And under this ordinance, the rate then
13      increased to $350 per acre; is that right?
14             A        Yes.
15             Q        And what is the basis for the $350 per
16      acre rate?
17             A        We're charging $350 for the other -- for
18      Hawthorne Racetrack, and I don't know if that's the
19      whole basis, but was part of my decision.
20             Q        And what was the basis for charging
21      Hawthorne Racetrack $350 per acre?
22             A        I don't know the whole basis.             I know they
23      have never paid us for sewer water usage.                    It's been
24      there forever, and they've been utilizing our sewer


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1       system, and we haven't been paid.
2              Q        So Hawthorne, was this essentially you
3       charged them $350 to catch up for past payments you
4       never charged?
5              A        No, we didn't necessarily do it to past to
6       catch up.        We did it because that area is another
7       area that's a little bit prone to flooding.
8              Q        And who came up with this $350 figure?
9       That was you?
10             A        I don't remember.
11             Q        What does this $350 per acre rate take
12      into account?
13             A        I don't understand how to answer.
14             Q        What specifically did you take into
15      account in calculating this number?
16             A        When I was going over it, I was looking at
17      how much the taxiing is on our service.                   We are
18      going to have more water going into our system.
19      We're going to have to -- we do a program where we
20      put money out for families to get flood control, so
21      we're going to have to start catching up on that.
22                      And that's part of what we look at.                We
23      offer every household $1,500 so they can put a flood
24      control system in.         It won't pay for it, but it will


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1       be a part of it for them.
2              Q        Other than what you've seen with your
3       eyes, visually looking around the town, was there
4       any other information that you took into account in
5       calculating this $350 per acre rate?
6              A        No, sir.
7              Q        Are there any specific costs that are
8       factored into this rate?
9              A        Upkeep of our sewer system.             The monies
10      that we get from sewers gets put into our sewer fund
11      and helps us try to keep repairing systems.
12                      Like, after this big huge rain alone, we
13      have, like, five washouts that we've noticed that
14      we've got to dig up and repair.                   We started doing
15      that today.        I mean, that's part of it.             It all goes
16      to the repair and upkeep.
17             Q        To be clear, though, are there any
18      specific costs that you calculated and factored into
19      this $350 rate?
20                      MS. GRANDFIELD:         Objection to the extent
21      asked and answered.           Go ahead.
22                      THE WITNESS:       Yes.      I don't
23      specifically -- no, I think when we do this, we're
24      thinking of all the different workers we need, the


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1              Q        And then you talked about contemplating
2       other work that you might do in the future.
3                       What work would that be?
4              A        I really would like to do something by the
5       Austin viaduct because we have such horrific
6       flooding there.
7              Q        There's no specific plan to do that at
8       this time?
9              A        There's nothing in writing, but it's
10      tossing around now.
11             Q        Prior to increasing this rate, did Cicero
12      conduct any studies regarding the impact that
13      different users have on the sewer system?
14             A        Besides visually looking at it, no.
15             Q        And just to be clear, no other work was
16      done to determine the impact that different users
17      have on the sewer system other than this visual
18      inspection you've talked about?
19             A        Yes.
20             Q        Does Cicero measure each customer's use of
21      the sewer system?
22             A        No.
23             Q        Did you receive any communications from
24      Town officials or Members of the Board regarding


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1       looking at the impact on the sewer system?
2              A        No.
3              Q        Do you know how much --
4              A        I've had, like, someone say, Hey, listen,
5       so and so got water, is there some way we can help
6       them, send a guy out there to rod out their sewer,
7       that kind of --
8              Q        Sure.
9              A        Yes.     Something like that, yes, I've had
10      officials call me up and say, Listen, my next door
11      neighbor, she had a lot of water, could we please
12      send out your rodding crew, the water is not going
13      down today.           And we would send them out there, or
14      they had a company come out that camera'ed                    their
15      line, and they put a camera in, and they found that
16      there's a collapse, like, in the street area, by the
17      curb, or something, that kind of talk, yes.
18             Q        Do you know how much it costs to provide
19      sewer services for BNSF?
20             A        No.     I wouldn't know.
21             Q        Do you know -- so you don't know whether
22      the costs to provide sewer services to BNSF's Cicero
23      property is more than the $90,300 it's charged per
24      month?


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1       notice given to BNSF of that to the best of your
2       knowledge?
3              A        No, I wouldn't know if they notified them.
4              Q        So I'm going to go back now to this first
5       exhibit I handed you, which is the ordinance.
6              A        Yes.
7              Q        So at the bottom of the first page, this
8       is Exhibit 1, on the bottom of the first page,
9       there's a category of rates for commericial and
10      industrial sewer service for property located
11      outside of the Town municipal border.
12                      Why does Cicero have a separate rate for
13      commercial and industrial sewer service for property
14      located outside of the Town municipal border?
15             A        Because they use our sewer system.
16             Q        Why not charge them the same rate that you
17      charge people for commercial industrial service?
18             A        Because commercial industrial services
19      rates reflect upon water usage and consumption, and
20      they don't use our water.              They get water from
21      Stickney.
22             Q        Okay.   Does BNSF use your water?
23             A        Yes.
24             Q        This $350 per acre rate for the commercial


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1       industrial sewer service for property located
2       outside of the Town border, what is that based on,
3       this $350 rate for, I guess, Hawthorne?
4              A        What do you mean?
5              Q        What was that rate based on, again?
6              A        It's based on their monthly usage for
7       using our sewer.
8              Q        And did you calculate that in some way?
9              A        We didn't do, like, a study with -- an
10      engineering study, no.
11             Q        Did you calculate costs?
12             A        I'm not sure if it was all calculated with
13      costs.
14             Q        Who would know?
15             A        I don't know.
16             Q        Does anyone other than Hawthorne Racetrack
17      pay the rate in number four?
18             A        No.
19             Q        And do you know the cost to Cicero for
20      providing sewer service to Hawthorne?
21             A        No.
22             Q        Does Hawthorne put more or less of a
23      burden on Cicero's sewer system than BNSF?
24             A        Less.   Well, that's my opinion.


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                                                                       Page 1

 1                IN THE UNITED STATES DISTRICT COURT
 2                      NORTHERN DISTRICT OF ILLINOIS
 3
 4      BNSF Railway Company,                     )
 5                             Plaintiff,         )
 6                       vs.                      ) No. 21-cv-3072
 7      Town of Cicero, Illinois,                 )
 8                             Defendant.         )
 9
10                       The videotaped deposition of TIMOTHY
11      P. GEARY, called as a witness for examination,
12      taken pursuant to the Federal Rules of Civil
13      Procedure of the United States District Courts
14      pertaining to the taking of depositions, taken
15      before ANDREA L. KIM, a Certified Shorthand
16      Reporter of said state, CSR No. 84-3722, at Suite
17      A, 545 Plainfield Road, Willowbrook, Illinois, on
18      the 2nd day of July, A.D. 2021, at 1:28 p.m.
19
20
21
22
23
24


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                                                    Page 10                                                 Page 12
    1       A. I collected some documents, produced            1      A. I represent them on day-to-day civil
    2   an affidavit --                                        2   engineering matters.
    3       Q. Okay. Did you --                                3      Q. Are you the town engineer for the Town
    4       A. -- over the last few days.                      4   of Cicero?
    5       Q. Sure. Did you speak with anyone?                5      A. I am called the town engineer. I am
    6       A. My attorney.                                    6   not sure if I am officially appointed the town
    7       Q. Okay. And I am not going to ask you             7   engineer but I show up.
    8   anything about your conversations with your            8      Q. And how long have you been called the
    9   attorney.                                              9   town engineer?
   10          Did you bring any documents with you           10      A. Well, I have been there for providing
   11   today?                                                11   services for 24 years.
   12       A. I did not.                                     12      Q. And what portion of your time is spent
   13       Q. Okay. What is your highest level of            13   working as town engineer for Cicero versus your
   14   education?                                            14   other roles that you have?
   15       A. College graduate.                              15      A. I would say 25 plus percent.
   16       Q. Okay. And what was -- what was your            16      Q. Okay. And do you have a similar role
   17   major?                                                17   for any other municipalities?
   18       A. I got a bachelor of science in civil           18      A. I do.
   19   engineering.                                          19      Q. What municipalities are those?
   20       Q. Okay. And where did you receive your           20      A. City of Burbank, Village of Stickney,
   21   degree from?                                          21   and some park districts, sanitary districts.
   22       A. Bradley University.                            22      Q. Okay. Are you familiar with the rates
   23       Q. Okay. And do you have any other                23   that Cicero charges for use and service of its
   24   professional licenses or certifications?              24   sewer system?
                                                    Page 11                                                 Page 13
    1       A. I do not.                                       1      A. I am.
    2       Q. What is your current occupation?                2      Q. Okay. How are you familiar with those
    3       A. I am a civil engineer for Novotny               3   rates, sir?
    4   Engineering.                                           4      A. Just reading the ordinances.
    5       Q. Okay. And just so I understand, what            5      Q. Okay. Who determines the rates that
    6   is -- how long have you been a civil engineer for      6   Cicero charges for use of the services?
    7   Novotny Engineering?                                   7      A. I do not know.
    8       A. 38 years.                                       8      Q. Okay. Do you have any role in that
    9       Q. Wow, that's quite some time.                    9   process, sir?
   10       A. I'm a lot older now.                           10      A. I have not up until recently.
   11       Q. Have you had any other roles in                11      Q. And when you say recently, what do
   12   Novotny Engineering?                                  12   you -- how long of a time are we talking about?
   13       A. No.                                            13      A. That would have been 2020.
   14       Q. And how long have you been employed at         14      Q. Okay. And what was your role in the
   15   Novotny, the whole 38 years?                          15   rate setting process in 2020?
   16       A. 38 years, yes.                                 16      A. I was asked to assist them, provide a
   17       Q. Okay. What are your responsibilities           17   rate for Hawthorne Racecourse for the property
   18   in your role at Novotny Engineering?                  18   that resides in the Village of Stickney that
   19       A. Well, right now I am president of the          19   drains to the Town of Cicero sewers.
   20   company, but I represent municipal clients, a         20      Q. Okay. And did the town -- was that
   21   number of municipal clients including the Town of     21   the first time that the town asked you for your
   22   Cicero.                                               22   input in setting a rate?
   23       Q. Okay. And do you have a specific role          23      A. Yes.
   24   with the Town of Cicero?                              24      Q. Did anyone explain to you why they
                                                                                                4 (Pages 10 - 13)
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                                                    Page 14                                                    Page 16
    1   were asking for your input in this instance?     1             Q. So can you explain to me the -- you
    2       A. Well, the property drains to the Town     2         said something about a connection and how they
    3   of Cicero. It's the Town of Cicero sewers. So    3         were charged by connection.
    4   they wanted to capture a fee for use of the      4                What do you mean by that?
    5   town's sewer.                                    5             A. Yeah, Chicago they don't -- their
    6       Q. And who specifically from the Town of 6             out-of-service -- out-of-town rate user rate is
    7   Cicero approached you to -- for assistance?      7         based on number of connections and the number --
    8       A. The town attorney's office.               8         and the diameter of the connection.
    9       Q. Okay. And what exactly were you asked 9                 Q. Okay. And what does that mean exactly
   10   to do?                                          10         when you say connections in this context?
   11       A. Well, we will looking at some method 11                 A. I am not sure how their -- the code
   12   to create a new subsection for an out-of-town   12         obviously mean a connection to their system, but
   13   user of the town's sewer system.                13         it was very -- it wasn't clear how they came up
   14       Q. And did they ask you to recommend a 14              with the rates or the amounts.
   15   rate?                                           15             Q. Okay. So just to be clear based on
   16       A. They asked me to look at it and see if   16         what you are saying, is your understanding of the
   17   they could calculate some sort of rate based on 17         Chicago code that regardless of the acreage that
   18   whatever resources I had.                       18         the property was that was connected to the
   19       Q. Okay. And did you, in fact, expend       19         Chicago sewer system, there would be a similar
   20   effort to do so?                                20         connection fee depending on the number of
   21       A. I did.                                   21         connections?
   22       Q. And what exactly did you do?             22             MS. GRANDFIELD: Objection -- objection,
   23       A. Well, I was aware that the Town of       23         incomplete hypothetical.
   24   Cicero is charged a similar rate by the City of 24             MR. MARIOTTI: It's not a hypothetical. I
                                                    Page 15                                                    Page 17
    1   Chicago for a property in Cicero that drains to        1   am asking him his understanding of the ordinance
    2   Chicago, the former -- former Western Electric         2   that he relied on.
    3   property. So I was aware that the Town of Cicero       3       MR. BIRD: I just wanted to make sure that
    4   receives a bill from Chicago for use of their          4   the objection was noted.
    5   sewers.                                                5       MS. GRANDFIELD: Yeah --
    6      Q. Okay. And so given that you had that             6   BY THE WITNESS:
    7   awareness, what, if anything, did you do with          7       A. If you could repeat the question.
    8   that information?                                      8   BY MR. MARIOTTI:
    9      A. Well, I was looking to see if we could           9       Q. Yes, of course.
   10   use that rate to ballpark a rate for the              10           So is your understanding of the
   11   Hawthorne Racecourse.                                 11   Chicago ordinance that regardless of the acreage
   12      Q. Okay. And did you, in fact, do so?              12   of the property that is being connected to the
   13   Did you in fact do so, sir?                           13   Chicago sewer system, the charge is by the number
   14      A. I did so.                                       14   of connections?
   15      Q. And how did you do that?                        15       A. Number and size of the connection.
   16      A. Well, I knew the -- what the -- get a           16       Q. Okay. And when you say size of the
   17   copy of the Chicago invoice to the Town of Cicero     17   connection, what does that mean?
   18   for their rate and discovered they charged by         18       A. The size -- diameter of the pipe.
   19   some sort of connection -- sewer connection           19       Q. Understood. Why didn't -- why didn't
   20   calculation. So I knew the amount, and I took         20   you set rates for the Town of Cicero based on the
   21   that total amount and came up with a rate per         21   number of connections and the size of the pipe?
   22   acre to match in a similar format to the railroad     22       A. I did not understand the Chicago
   23   section of the sewer rate fee in the town             23   method. That method of how they came up with
   24   ordinance.                                            24   their rates for connections or pipe size, nor do

                                                                                                   5 (Pages 14 - 17)
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                                                    Page 18                                                      Page 20
    1   I understand their -- how they calculated their        1   owned by that property on Cermak Road. That fee
    2   bill for the Town of Cicero.                           2   divided by the acreage divided by 12 months
    3       Q. Okay. You mentioned that there are              3   annual fee divided by acreage by 12 months.
    4   certain users -- railroads that are charged by         4       Q. Why is Chicago a good comparable city
    5   acreage, and the Hawthorne Racetrack is also           5   to use for Cicero?
    6   charged based on acreage; is that right?               6       A. I didn't say it was a good comp. It's
    7       A. That's correct.                                 7   all I had. It was a starting point.
    8       Q. Why -- why did you decide to charge             8       Q. Would it have been possible to use
    9   the Hawthorne Racetrack based on acreage?              9   other suburb as a comp?
   10       A. We were going to base the charge using         10       A. For an out-of-town?
   11   the same format as the railroad subsection of         11       Q. Uh-huh.
   12   that ordinance, the sewer fee ordinance. One, we      12       A. Possibly.
   13   don't know how many connections Hawthorne has to      13       Q. But you didn't look to see --
   14   our sewer at that time.                               14       A. No, I did not.
   15       Q. Okay. But there are some users who             15       Q. Okay. So moving back to the railroad
   16   are out not charged based on acreage, correct?        16   rate for a moment.
   17       A. That's correct.                                17           At some point last year were you
   18       Q. In fact, all other commercial users            18   approached regarding a change in the railroad
   19   are charged on a different method.                    19   rates?
   20           Is that fair to say?                          20       A. Yes.
   21       MS. GRANDFIELD: Objection, vague.                 21       Q. Who approached you?
   22   BY THE WITNESS:                                       22       A. I am not quite sure. The legal
   23       A. That's my under -- that's my                   23   department. I don't know who actually did.
   24   understanding?                                        24       Q. Okay. And when you say "the legal
                                                    Page 19                                                      Page 21
    1   BY MR. MARIOTTI:                                       1   department," are you referring to the Del Galdo
    2      Q. Why didn't you charge the Hawthorne              2   law firm?
    3   Racetrack using the method that other commercial       3       A. I am.
    4   users are charged?                                     4       Q. Okay. And what, if anything, did you
    5      A. Well, based -- one, the other method             5   do as a result of that conversation with them?
    6   for residential and commercial property is based       6       A. I requested some information from the
    7   on water consumption. The Town of Cicero does          7   clerk's office regarding history of the current
    8   not sell water to Hawthorne Racecourse. The            8   water or sewer rates for the railroad. I talked
    9   Village of Stickney sells water. So we do not          9   to the water department director to ask him about
   10   know how much water they consume.                     10   billing the railroad.
   11      Q. Okay. Do you know why railroads are             11       Q. Okay. And what did you determine from
   12   not charged based on water consumption?               12   that research that you conducted?
   13      A. I do not.                                       13       A. In regarding?
   14      Q. Okay. Did you have any role in making           14       Q. The railroad rates. You know, you
   15   the decision to charge railroads based on acreage     15   said you were looking at, for example, historical
   16   versus water consumption?                             16   rates and so forth.
   17      A. I did not.                                      17       A. Yeah, there is just a history of
   18      Q. Okay. Can you help me understand how            18   starting at $6 and it worked its way up to $27
   19   you determined the exact number that you charged      19   over a number of years.
   20   the Hawthorne Racetrack?                              20       Q. Okay. And -- well, what did you do
   21      A. The number -- I came up with an                 21   next once you determined sort of what the
   22   estimate based on the Chicago bill to Town of         22   railroad had been charged in the past?
   23   Cicero for the former Western Electric property.      23       A. I just looked at it and applied
   24   The portion that drains to -- there's sewers          24   some -- some I don't want to say cost-of-living

                                                                                                   6 (Pages 18 - 21)
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                                                    Page 22                                                     Page 24
    1   rate but rate increases, annual rate increases,        1       A. I am not aware of that.
    2   if it were to be increased annually.                   2       Q. You said that you had -- you
    3       Q. Okay. Had it been increased annually?           3   calculated an annual rate increase.
    4       A. No.                                             4           Do you know what the percentage
    5       Q. When was the last time the railroad             5   increase was?
    6   rate had been increased?                               6       A. No, I don't. I recall that it got up
    7       A. I am not sure.                                  7   to the $50 an acre range.
    8       Q. Okay. So what did you use as your               8       Q. And you said that -- I think you
    9   starting point in determining the annual               9   testified a moment ago that it was sort of
   10   increases?                                            10   recreating a yearly increase?
   11       A. I had a chart. I believe I matched up          11       A. Annual yeah.
   12   the rate with the date of the ordinance and           12       Q. Annual. Are the town's rates usually
   13   applied various rates of annual increases.            13   increased annually?
   14       Q. So at the time that you were doing             14       A. Not that I know of.
   15   that, did you know the last time that the             15       Q. Okay. Why then would you recreate a
   16   railroad rate had increased?                          16   yearly increase?
   17       A. Probably, yes.                                 17       A. Again, as a starting point just for
   18       Q. Okay. As you sit here today, can you           18   discussion of what the rate might be if it were
   19   ballpark when that was?                               19   to be increased annually at a set percentage.
   20       A. Again, I could guess.                          20       Q. Why would the railroad -- why would
   21       Q. Okay. And you said that you -- you             21   the sewer rates for a railroad be charged -- be
   22   tried to recreate annual increases. Is that           22   increased by the same percentage each year?
   23   essentially what you said?                            23       A. The increase of the rate is totally up
   24       A. Yeah, I think my recollection is that          24   to the town, the Town of Cicero.
                                                    Page 23                                                     Page 25
    1   I had the rate when it was increased, and I just       1      Q. Okay. But it's not -- it's not in
    2   applied an annual increase to bring it to 2020 --      2   relation to costs, for example?
    3       Q. Okay.                                           3      A. I am not sure how they calculate the
    4       A. -- at different percentage rates.               4   rate.
    5       Q. Okay. Why did you do that?                      5      Q. And do you know where the money that's
    6       A. Well, to just again as a starting               6   collected for sewer services goes?
    7   point to look at see if the rate had been              7      A. I do not.
    8   increased 6 percent, 5 percent, a nominal percent      8      Q. Are you familiar with Cicero's
    9   to see what it would be today.                         9   residential flood control program?
   10       Q. Do you know whether the costs to the           10      A. Yes.
   11   Town of Cicero have gone up over that time            11      Q. What is that?
   12   period?                                               12      A. They have a program to install
   13       A. Pardon me?                                     13   backflow preventers.
   14       Q. Do you know whether the Town of                14      Q. How exactly does that program work?
   15   Cicero's costs --                                     15      A. I am not sure of the exact operation.
   16       A. I am not aware of their costs.                 16      Q. How is it funded?
   17       Q. Okay. Do you know whether or not the           17      A. I am not sure.
   18   sewer usage of the railroad property in question,     18      Q. I am going to now show you an exhibit
   19   BNSF railroad property in question went up during     19   I am going to ask the court reporter to mark this
   20   that time period?                                     20   as Exhibit 1, and I am handing copies to opposing
   21       A. I'm not aware of that.                         21   counsel.
   22       Q. Okay. Do you know whether or not               22
   23   BNSF's water usage has gone up during that time       23
   24   period?                                               24

                                                                                                   7 (Pages 22 - 25)
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                                                   Page 26                                                 Page 28
    1              (WHEREUPON, a certain document             1       A. That's correct.
    2              was marked Geary Deposition                2       Q. Why aren't the other commercial and
    3              Exhibit No. 1, for                         3   industrial properties charged by acreage?
    4              identification, as of 7/2/21.)             4       A. Can you repeat your question?
    5   BY THE WITNESS:                                       5       Q. Sure. Why aren't other commercial and
    6       A. There's two here. Is this one?                 6   industrial properties within Cicero charged by
    7   BY MR. MARIOTTI:                                      7   acreage?
    8       Q. Thank you. Take your time to look at           8       A. I am not sure.
    9   it, and let me know whenever you are ready.           9       Q. Do you know who made that decision?
   10       A. Yeah, I have seen this before.                10       A. I do not.
   11       Q. Okay. Do recognize this exhibit, sir?         11       Q. Okay. Do you know why railroads
   12       A. I sure do.                                    12   aren't charged by water consumption?
   13       Q. What is it?                                   13       A. I do not.
   14       A. It's the town's sewer fee ordinance.          14       Q. Okay. Are you familiar with the
   15       Q. Okay. And I note here that there are          15   concept of runoff from a property?
   16   different categories of users that are listed        16       A. I am.
   17   here: Residential service, commercial, and           17       Q. Okay. What is that?
   18   industrial service, railroad yards and               18       A. Runoff is rainwater that falls on a
   19   rights-of-way, and there's this category             19   property then runs off, either off the property
   20   commercial and industrial sewer service for          20   or to a drainage structure.
   21   property located outside the town municipal          21       Q. Does that have any impact on the
   22   border.                                              22   Cicero sewer system?
   23           Do you see those categories, sir?            23       A. Absolutely.
   24       A. Yes.                                          24       Q. And what impact is that, sir?
                                                   Page 27                                                 Page 29
    1      Q. Okay. Why does Cicero have a separate           1       A. Amount of runoff goes through their
    2   sewer rate for railroads?                             2   combined sewer system. The sewer system can't
    3      MS. GRANDFIELD: Objection, asked and               3   handle it. It leads to flooding and all the
    4   answered.                                             4   problems with flooding that go along with it.
    5   BY THE WITNESS:                                       5       Q. Has that been a particular issue for
    6      A. I do not know.                                  6   Cicero versus other municipalities?
    7   BY MR. MARIOTTI:                                      7       A. It's a -- it is an issue with Cicero
    8      Q. Okay. Do you know how long Cicero has           8   and most older communities.
    9   had a separate sewer rate for railroads?              9       Q. And what, if anything, has Cicero done
   10      A. I do not know.                                 10   to address that issue?
   11      Q. Do you know how Cicero calculates the          11       A. Well, we abide by the MWRD Water
   12   acreage of railroad yards and rights-of-way?         12   Management Ordinance requiring stormwater
   13      A. I don't know how Cicero calculates the         13   management for new development.
   14   acreage for previous billings.                       14       Q. Does Cicero or yourself measure the
   15      Q. Okay. And do you know who made the             15   runoff coming from specific properties?
   16   decision to charge railroads by acre?                16       A. We do not.
   17      A. I do. Well, the town board --                  17       Q. Okay. So is it fair to say that you
   18      Q. Okay.                                          18   don't know how any specific properties runoff
   19      A. -- ultimately.                                 19   impacts the cost to maintain the Cicero sewer
   20      Q. Now, in paragraph 2 there's the rate           20   system?
   21   for commercial and industrial properties within      21       A. I could not assign a dollar value to
   22   Cicero.                                              22   it.
   23          As we already discussed, that rate is         23       Q. Do all properties within Cicero create
   24   calculated by the amount of water consumed?          24   runoff?
                                                                                               8 (Pages 26 - 29)
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                                                    Page 30                                                   Page 32
    1       A. They do.                                        1   was going to be one or two provisions or the
    2       Q. Do you know whether Cicero has ever             2   whole document.
    3   measured runoff from any properties?                   3        MR. MARIOTTI: Yeah, no problem. I'm going
    4       A. I am not aware.                                 4   to look at a few different provisions.
    5       Q. Okay. Are you familiar with the term            5        MR. BIRD: Sorry to interrupt.
    6   impermeable surface?                                   6        MR. MARIOTTI: Oh, not at all. I appreciate
    7       A. I am.                                           7   your courtesy.
    8       Q. What is that?                                   8   BY MR. MARIOTTI:
    9       A. Well, engineering terms usually it's            9        Q. All right. Do you recognize this
   10   called impervious. It's anything hardscape            10   exhibit, sir?
   11   pavement, asphalt, concrete, anything that            11        A. I recognize it as a town ordinance.
   12   doesn't allow water to drain through.                 12   It's the first time I have actually seen the
   13       Q. Is gravel permeable or impermeable?            13   ordinance.
   14       A. Mostly permeable depending. It can             14        Q. Are you familiar with the ordinance
   15   vary.                                                 15   though?
   16       Q. To your knowledge, can paved surfaces          16        A. In general.
   17   retain water -- can paved surfaces retain water?      17        Q. Okay. And how are you familiar with
   18       A. Generally the standard is runoff for           18   it, sir?
   19   pavement is 95 percent. So 5 percent is               19        A. It's a town ordinance in a town
   20   retained.                                             20   ordinance format.
   21       Q. Has Cicero ever calculated the amount          21        Q. Were you involved with creating this
   22   of impermeable or paved surface at BNSF's             22   ordinance in any way?
   23   property?                                             23        A. I was not.
   24       A. Not that I am aware of.                        24        Q. All right. So at the bottom of page 2
                                                    Page 31                                                   Page 33
    1       Q. And are there any other non-railroad            1   it says that the purpose of the ordinance is to
    2   properties within Cicero that have paved or            2   increase rates for railroad yards and
    3   impermeable surfaces?                                  3   rights-of-way to ensure the proper operation and
    4       A. Yes.                                            4   maintenance of the combined waterworks and sewer
    5       Q. Do any particular properties come to            5   system.
    6   mind?                                                  6           Do you know what the total cost to
    7       A. Every commercial -- every property has          7   Cicero for the operation and maintenance of the
    8   some degree of impermeable pavement -- not every       8   combined waterworks and sewer system is on a
    9   or just virtually every.                               9   monthly basis?
   10       Q. If we can -- I will show you another           10       A. I do not.
   11   exhibit number which I will ask the court             11       Q. Okay. If you look at the -- if you
   12   reporter to mark as Exhibit 2, and I am also          12   look at the bottom -- it's the first page of the
   13   handing copies to opposing counsel.                   13   ordinance, but it's -- it's labeled at the bottom
   14              (WHEREUPON, a certain document             14   TOC 208. Okay. I just want to make sure you and
   15              was marked Geary Deposition                15   I are looking at the same thing. There's a
   16              Exhibit No. 2, for                         16   number (2) and it says that it's to ensure also
   17              identification, as of 7/2/21.)             17   that they can provide for an adequate
   18       MR. BIRD: Counsel, is there a particular          18   depreciation fund.
   19   provision on this that you want to focus his          19           Do you see that, sir?
   20   attention on or do you want him to read the whole     20       A. I do.
   21   document?                                             21       Q. Okay. What is the depreciation fund
   22       MR. MARIOTTI: Yeah, I am going to --              22   referred to here?
   23   unfortunately, I am going to walk through --          23       A. I do not know.
   24       MR. BIRD: That's fine. I didn't know if it        24       Q. Okay. And then after that, it says to

                                                                                                  9 (Pages 30 - 33)
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                                                 Page 34                                                  Page 36
    1   pay the principal of and interest upon all       1          A. A few times a week.
    2   revenue bonds issued under Division 139 of       2          Q. What do you usually speak about? What
    3   Article 11 of the Illinois Municipal Code.       3      do you usually speak about?
    4           Do you see that?                         4          A. Many things. Have you met
    5       A. I do.                                     5      Mr. Manetti? Yeah, many things.
    6       Q. Do you know whether Cicero has issued 6              Q. I understand.
    7   revenue bonds under Division 139 of Article 11? 7               Did you ever speak with Mr. Manetti
    8       A. I do not.                                 8      about the increase in sewer rates on railroads?
    9       Q. Okay. And then the paragraph goes on 9               A. Yes.
   10   to say that the Town President and the Board of 10          Q. When was that do you recall?
   11   Trustees of the Town have determined that it's 11           A. I don't recall.
   12   necessary to raise the sewer rates within the   12          Q. And what did you discuss with
   13   Town for railroad yards and rights-of-way.      13      Mr. Manetti specifically?
   14           Do you know how it was determined that 14           A. Well, we were -- at the time we were
   15   it was necessary to raise those sewer rates     15      looking at historical railroad rates trying to
   16   within the town for railroad yards and          16      get information from the clerk's office, trying
   17   right-of-way at that time?                      17      to get their billing -- how they bill the
   18       A. I do not.                                18      railroad.
   19       Q. Now it appears on the face of the        19          Q. Okay. And did he ask you for any
   20   document that the sewer rates for other sewer   20      specific information?
   21   users were not changed.                         21          A. He did not.
   22           Do you know why that was the case?      22          Q. Okay. And did you -- so did you ask
   23       A. I do not.                                23      him for any data or information?
   24       Q. Okay. Do you know how the idea of        24          A. Yeah, I was looking for their bills, a
                                                 Page 35                                                  Page 37
    1   raising sewer rates on railroads first came up?     1   copy of their bills to the railroad.
    2       A. I do not.                                    2      Q. Did you receive that from him?
    3       Q. You don't know whose idea it was?            3      A. I did not.
    4       A. The recent --                                4      Q. Okay. Did you have any other
    5       Q. Rate increase.                               5   discussions with him other than the request for
    6       A. Yeah, I mean, part of the -- asking me       6   information?
    7   to recalculate the rates in 2020.                   7      A. No.
    8       Q. Do you know if there's a particular          8      Q. Did you discuss the rate with him?
    9   person at the town came up with that idea?          9      A. The rate, yeah, I did, yeah.
   10       A. I do not know who that -- if there was      10      Q. And what were your discussions
   11   a particular person.                               11   regarding the rate itself?
   12       Q. Okay. Do you know if anyone in              12      A. Yeah, just how to calculate it or --
   13   particular supported this increase in --           13      Q. What was Mr. Manetti's view regarding
   14   increasing sewer rates for railroads?              14   how it should be calculated?
   15       A. I do not.                                   15      A. Well, he was doing his own
   16       Q. You mentioned that you spoke to town        16   calculations too, quite a bit of ciphering going
   17   attorneys regarding this idea.                     17   on there in the office.
   18           Other than those attorneys, who else       18      Q. What were his calculations?
   19   did you speak with about the idea of increasing    19      A. He was using a similar approach.
   20   sewer rates on railroads?                          20      Q. And what was his approach
   21       A. Water department director Mr. Lido          21   specifically?
   22   Manetti.                                           22      A. At that time it's just rate increases,
   23       Q. And how often do you speak to               23   percentage.
   24   Mr. Manetti?                                       24      Q. Did he just want to use the rate that
                                                                                            10 (Pages 34 - 37)
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                                                     Page 38                                                    Page 40
    1   had been provided to -- or been charged to              1       Q. Was BNSF discussed in any of your
    2   Hawthorne Racetrack?                                    2   conversations about the sewer rate increase?
    3       A. I don't recall exactly how he was                3       A. Did I have discussions with BNSF?
    4   calculating it.                                         4       Q. I'm sorry. No, was the topic of BNSF
    5       Q. In fact, the rate that is charged to             5   discussed in any of your conversations about the
    6   railroads is currently identical to the rate            6   sewer rate increase?
    7   that's charged to Hawthorne rail track?                 7       A. With whom?
    8       A. It is.                                           8       Q. With anyone. Did the topic of BNSF
    9       Q. Is there some reason for that?                   9   ever come up?
   10       A. I am not sure.                                  10       A. With town officials?
   11       Q. Okay. You had mentioned earlier that            11       Q. Yes.
   12   you had performed a calculation of yearly              12       A. No.
   13   increases and arrived at a rate.                       13       Q. Okay. So the discussions with the
   14           Is it a coincidence that that happens          14   town were all about railroads more generally?
   15   to be the same rate that Hawthorne rail track is       15       A. Regarding?
   16   charged?                                               16       Q. Regarding the rate increase on
   17       A. The $350?                                       17   railroads. It was just about railroads
   18       Q. Yeah.                                           18   generally, not about BNSF?
   19       A. Coincidence?                                    19       A. It was all railroads were -- this
   20       Q. Yeah.                                           20   ordinance affects all railroads.
   21       A. Maybe.                                          21       Q. But it's fair to say the only railroad
   22       Q. Okay. You don't know as you sit here            22   with significant acreage within the Town of
   23   today?                                                 23   Cicero is BNSF.
   24       A. No.                                             24          Is that fair to say?
                                                     Page 39                                                    Page 41
    1       Q. Is it accurate to say that Mr. Manetti           1       A. No, the Canadian National Belt
    2   suggested that you charge the same rate to the          2   railroads have significant right-of-way, not as
    3   railroad that was being charged to Hawthorne rail       3   much as Burlington Northern Santa Fe, but they do
    4   track -- racetrack?                                     4   have significant.
    5       A. I am not sure what Mr. Manetti                   5       Q. Okay. So if we -- I wanted to turn
    6   discussed about charging what rate.                     6   now to the -- it says page 3 at the bottom of
    7       Q. Okay. Did anyone suggest to you that             7   this exhibit, but it's really the fourth page of
    8   the railroad should be charged the same rate as         8   the exhibit because there's a cover page.
    9   Hawthorne Racetrack?                                    9       A. Right.
   10       A. Yes -- well, not the same rate, the             10       Q. It's TOC 210 at the bottom. Do you
   11   same method.                                           11   see that, sir?
   12       Q. Okay. And who made that suggestion?             12       A. Right, I do.
   13       A. The legal department.                           13       Q. So in paragraph 3 at the bottom of the
   14       Q. I see. Okay. Okay.                              14   page, there is a rate of $27.42 per month per
   15           Are you familiar with Cicero's board           15   acre and it's crossed out and it is then charged
   16   of trustees?                                           16   to $350 per acre.
   17       A. I am.                                           17          Do you see that?
   18       Q. Did you ever speak to any members of            18       A. Yes.
   19   the board of trustees about this increase of           19       Q. That's a twelvefold increase,
   20   sewer rates and railroads?                             20   something like that?
   21       A. I did not.                                      21       A. Yeah.
   22       Q. Did you ever speak to the town                  22       Q. And what was the -- what exactly is
   23   president about the rate increase --                   23   the basis for a twelvefold increase in the rate?
   24       A. I did not.                                      24       A. I do not know.

                                                                                                  11 (Pages 38 - 41)
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                                                     Page 42                                                     Page 44
    1       Q. Okay. Was that your idea?                        1   noticed fill. There was quite a bit of fill in
    2       A. No, it was not.                                  2   that area.
    3       Q. What exactly was your recommendation             3       Q. When was that excavation done?
    4   to the town then?                                       4       A. When was that done? That was done
    5       A. I really did not give any                        5   right over the winter, early January I think. I
    6   recommendation for the railroad rate other than         6   am not sure. Recently, last five months.
    7   then present a number of calculations based on          7       Q. Okay. I am going to turn to the next
    8   the annual increase we already discussed.               8   page of this exhibit. It's marked page 4 at the
    9       Q. Any of your calculations approach $350           9   bottom. It also say TOC 211. I just want to
   10   per month?                                             10   make sure I am on the same page as you.
   11       A. No.                                             11       A. Right.
   12       Q. Do you recall what the -- in the                12       Q. There's a section at the top labeled
   13   ballpark range what your calculations arrived at?      13   No. 4 and so forth, and then -- oh, and actually
   14       A. In the $50 range.                               14   I should say there's a sentence that goes from
   15       Q. Do you know who came up with the $350           15   the last page to this page. It essentially says
   16   per acre rate?                                         16   there's a penalty charge of 20 percent added to
   17       A. I believe it was the town board passed          17   bills that are not paid within 25 days.
   18   the $350.                                              18           Do you see that?
   19       Q. You don't know if anyone made a                 19       A. I do.
   20   recommendation to them for the $350 rate?              20       Q. Do you know how Cicero determined that
   21       A. I do not.                                       21   20 percent figure?
   22       Q. Okay. Do you know what the $350 per             22       A. I do not.
   23   acre rate takes into account?                          23       Q. Okay. Were you present at the board
   24       A. I do not.                                       24   meeting when this ordinance was passed?
                                                     Page 43                                                     Page 45
    1       Q. Do you know what information was used            1      A. I was not.
    2   to come up with the $350 per acre rate?                 2      Q. Okay. Prior to this rate increase,
    3       A. I do not.                                        3   were any studies or work conducted regarding the
    4       Q. Okay. Do you know if there were any              4   impact that different users have on the Cicero
    5   costs to Cicero that were calculated or factored        5   sewer system?
    6   into that $350 rate?                                    6      A. Not that I am aware of.
    7       A. I do not.                                        7      Q. Okay. Well, to be clear, do you know
    8       Q. Okay. To your knowledge, has BNSF                8   how much it costs to provide sewer services for
    9   ever changed the amount of permeable surface at         9   BNSF's Chicago -- Cicero property?
   10   its property?                                          10      A. One more time, please.
   11       A. I suspect they have, yes.                       11      Q. I'm sorry. Do you know how much it
   12       Q. But you don't know for sure one way --          12   costs to provide sewer services for BNSF's Cicero
   13       A. I do not, no.                                   13   property?
   14       Q. Okay. To your knowledge, has BNSF               14      A. I do not.
   15   ever raised the elevation of its property?             15      Q. Okay. Do you know the percentage of
   16       A. I suspect they have.                            16   Cicero's total cost to maintain and provide sewer
   17       Q. But you don't know one way or the               17   services that could be attributed to BNSF?
   18   other?                                                 18      A. I do not.
   19       A. I know in a certain area they have.             19      Q. Okay. Do you know approximately how
   20       Q. Okay. But you are not sure of any               20   much in total Cicero collects from sewer charges
   21   specifics?                                             21   on a monthly basis?
   22       A. No, I have seen some photo bearing              22      A. I do not.
   23   fire hydrants. We have done some excavation            23      Q. Okay. I am going to move on from this
   24   there recently to repair town water main and           24   exhibit. We will go to a different one, and I am

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                                                    Page 50                                                    Page 52
    1   this rate increase?                                    1   for -- 16th Street and Laramie. There's large
    2      A. I do not.                                        2   shopping centers along Cicero Avenue.
    3      Q. Okay. Do you know anything about                 3      Q. Do you know the sewer rate charged to
    4   other communications between the Town of Cicero        4   the shopping centers?
    5   and BNSF?                                              5      A. I know what the ordinance is. I don't
    6      A. We have had discussions with them                6   know their dollar amount.
    7   about -- well, we had a water main repair on           7      Q. Do you know whether the shopping
    8   their property. They have had complaints about         8   centers put more or less of a burden on Cicero's
    9   the bridge drainage leaking on to their property.      9   sewer system than BNSF?
   10   So this is the last two years. We have had            10      A. It's purely a linear equation of
   11   complaints about them maintaining the Austin          11   runoff.
   12   viaduct lighting, pedestrian lighting.                12      Q. Does -- shopping centers have paved
   13      Q. Okay. You mentioned earlier that you            13   shopping -- excuse me -- parking lots?
   14   assisted in the calculation of a rate for             14      A. They do.
   15   Hawthorne Racetrack?                                  15      Q. Have you compared the size of those
   16      A. I did.                                          16   parking lots?
   17      Q. Is any other user charged by that rate          17      A. I have not.
   18   other than Hawthorne Racetrack?                       18      Q. Okay. Have you compared, for example,
   19      A. The $350 an acre?                               19   the size of Amazon's facility --
   20      Q. Yeah.                                           20      A. I have not.
   21      A. The railroad is now.                            21      Q. -- to BNSF?
   22      Q. Now it is. But other than those --              22           And Amazon's facility is charged at
   23   putting aside railroads --                            23   the same rate as the -- as other residential
   24      A. That's why we are here, right.                  24   commercial users, not the railroad, right? Is
                                                    Page 51                                                    Page 53
    1       Q. Indeed. Putting aside railroads, I              1   that fair to say?
    2   mean in that category of users --                      2       A. That's correct.
    3       A. Oh, I see --                                    3       Q. Do you know what property in Cicero
    4       Q. -- does anyone else fall in that                4   has the largest impact on Cicero's sewer system?
    5   category other than the Hawthorne Racetrack?           5       A. By area it would be the railroad
    6       A. No, not currently.                              6   Burlington Northern Santa Fe.
    7       Q. Okay. And what is the cost to Cicero            7       Q. And that's based solely on the size of
    8   for providing sewer services to Hawthorne?             8   the parcel?
    9       A. I don't have the cost.                          9       A. That's correct.
   10       Q. Does Hawthorne put more or less of a           10       Q. After this rate increase took place,
   11   burden on Cicero's sewer system than BNSF?            11   has there been any study after the rate increase
   12       A. It's a smaller property.                       12   of the usage of the sewer system?
   13       Q. Okay. So you assume that it's lower?           13       A. There has not.
   14       A. It's lower. It's probably about a              14       Q. Okay. Has anyone asked you to provide
   15   third size of the railroad.                           15   reasons for charging railroads differently from
   16       Q. Okay. Just to be clear, you are                16   non-railroads after the ordinance has been
   17   basing that merely off the size. You don't have       17   passed?
   18   any other data to draw that conclusion, correct?      18       A. No.
   19       A. Correct.                                       19       Q. Okay. Do you know anything about
   20       Q. Besides BNSF, what other commercial or         20   discussions between BNSF and the town after the
   21   industrial business has the largest amount of         21   rate was increased?
   22   property in Cicero?                                   22       A. Yes.
   23       A. I can't rank them for you, but they do         23       Q. Okay. And what do you know about
   24   have some large parcels. Amazon has a parcel          24   that?

                                                                                                 14 (Pages 50 - 53)
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                                                    Page 58                                                 Page 60
    1       A. I have not.                                     1   lack of compliance with standards set forth by
    2       Q. Any data that you have or documents             2   the MWRD.
    3   related to that?                                       3           Are you familiar with that at all?
    4       A. I do not.                                       4       A. Am I familiar?
    5       Q. Okay. Have those flooding issues been           5       Q. With the lack of compliance by BNSF.
    6   raised with BNSF to your knowledge?                    6       A. I am familiar with their lack of
    7       A. Not that I am aware of, not by me.              7   stormwater management.
    8       Q. Now there's a statement here -- a               8       Q. And can you explain to me what you
    9   sentence here that says: The coefficient of            9   mean by that, sir?
   10   runoff on a paved surface as well as stress on        10       A. The storm water management is
   11   the system created by an increased runoff.            11   stormwater detention. By current MWRD ordinance,
   12           What does that phrase mean to you?            12   certain volumes -- calculated volumes must be
   13       A. Yeah, the more runoff increases the            13   stored on the development with an allowable
   14   flow of the -- in the sewer pipe, increases the       14   release rate into the storm -- or combined sewer
   15   stress is the word they used on the pipe.             15   in this case.
   16       Q. Okay. So essentially additional                16       Q. And that has not been done by BNSF to
   17   runoff is -- increases stress on the sewer            17   your knowledge?
   18   system. Is that essentially the point?                18       A. That has not been done by BNSF to our
   19       A. Yeah, the more flow, the more stress.          19   knowledge.
   20       Q. Okay. And to be clear, I believe you           20       Q. And how do you know one way or
   21   have testified to this. I want to be clear. You       21   another?
   22   have no data or documents regarding the amount of     22       A. Well, by a visual check of just using
   23   runoff coming from the BNSF property?                 23   Google Earth, I do not see any stormwater
   24       A. I do not.                                      24   detention.
                                                    Page 59                                                 Page 61
    1      Q. Okay. You have never conducted any               1      Q. So it's through your -- it's through
    2   study of the runoff?                                   2   observing photographs on Google Earth, the
    3      A. I have not.                                      3   website?
    4      Q. And you are not aware of the amount of           4      A. Yeah, and I have been in their yard a
    5   runoff coming from the BNSF property?                  5   number of times. I suspect they do not have any
    6      A. Not at this time.                                6   stormwater management.
    7      Q. You have no data comparing the amount            7      Q. It's fair to say you don't know for
    8   of runoff from the BNSF property to other              8   sure?
    9   properties within the Town of Cicero, correct?         9      A. Correct.
   10       A. I have no official data of that.               10      Q. Okay. Then this document also makes
   11       Q. Okay. It says here after this:                 11   reference to the condition and age of the town's
   12   BNSF's lack of compliance with the standards set      12   system generally.
   13   forth by the MWRD.                                    13          What is the condition of the town's
   14          What are the standards set forth by            14   system generally? We will start with that.
   15   the MWRD that are referred to here?                   15      A. Average to below average. It's a very
   16       A. I assume they are referring to their           16   old system.
   17   current Watershed Management Ordinance.               17      Q. What is the age of the system?
   18       Q. What is that?                                  18   Perhaps I should have started there.
   19       A. MWRD took over jurisdiction of                 19      A. There's some sewers that are over 100
   20   stormwater management and -- by state statute.        20   years old. Some of the newer sewers -- I was
   21   In 2014 they passed their Watershed Management        21   going to do this -- are probably 80 years old,
   22   Ordinance requiring certain stormwater management     22   very old.
   23   improvements for development.                         23      Q. Got it. For the record, you are
   24       Q. And it says here that the BNSF has a           24   putting up air quotes.
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                                                  Page 74                                                    Page 76
    1   specifically that it has several paved or        1     considered?
    2   impervious surfaces, it has a large amount of    2         A. No, it wasn't computed as a
    3   stormwater runoff that flows into the Town's     3     calculation.
    4   combined sewer system.                           4         Q. It says here that the railroad had
    5           Now, to be clear, as you sit here        5     paved over a portion of the property that was
    6   today, you don't know the amount of stormwater 6       quote previously assumed to be soil or aggregate.
    7   runoff that has come off the BNSF property,      7            Did anyone at the Town of Cicero
    8   correct?                                         8     assume that the BNSF railroad property was soil
    9       A. I do not.                                 9     or aggregate on a particular day?
   10       Q. Okay. And you don't know how that -- 10             A. I can't speak for the Town of Cicero.
   11   the runoff from the BNSF rail yard compares to 11          Q. Okay. Well, you are --
   12   the runoff from other properties such as Amazon 12         A. Myself or --
   13   or the shopping centers, correct?               13         Q. Yeah --
   14       A. It can be calculated, but I do not       14         A. Yeah, I assume that -- I do not
   15   know it at this time.                           15     have -- I assume it was unpaved --
   16       Q. Okay. Is it fair to say you did not      16         Q. Okay.
   17   know it prior to the rate increase to BNSF?     17         A. -- before it became an intermodal
   18       A. That's fair to say.                      18     transportation there.
   19       Q. Okay. Okay. Give me one second. And 19              Q. When did you learn that it was paved?
   20   then you say -- it says here in paragraph 12:   20         A. I do not know.
   21   Sometime in the past, BNSF railroad has paved 21           Q. Do you know how much of the property
   22   over a significant portion of its property that 22     is paved?
   23   was previously assumed to be soil or aggregate. 23         A. A majority.
   24   Their properties thereof were also filled which 24         Q. How do you know that?
                                                  Page 75                                                    Page 77
    1   raised the elevation of the property               1      A. I have been on the site a number of
    2   approximately 2 feet at the location in the photo 2    times via Google Earth, of course.
    3   attached as Exhibit B, where only the blue top of 3       Q. In other words, it's a website,
    4   a buried fire hydrant can be seen due to the       4   correct, that we are talking about?
    5   increased elevation. It is comprehensible that     5      A. Right.
    6   BNSF railroad filled their property to prevent     6      Q. So on the next page at the top of the
    7   on-site flooding of their yard. If this was the    7   page in paragraph 12 you say: It is
    8   case, the raised paved elevation of their yard     8   comprehensible that BNSF railroad filled their
    9   would now force the stormwater downstream          9   property to prevent on-site flooding of their
   10   resulting in negative flooding impacts to lower 10     yard.
   11   elevation areas.                                  11          What does it meaning to the
   12           So were you aware that BNSF had paved 12       comprehensible in this context?
   13   over a portion of its property prior to the rate  13      A. Since it became an intermodal yard,
   14   increase?                                         14   the need to have pavement that isn't flooding
   15       A. Yes.                                       15   would seem to be beneficial for their operations.
   16       Q. Okay. Did that factor into the rate        16      Q. So is this a presumption on your part?
   17   increase in some way?                             17      A. It is a presumption, yes.
   18       A. To the rate increase?                      18      Q. Okay. It's fair to say you don't know
   19       Q. Uh-huh.                                    19   why the property was filled?
   20       A. It contributes to the amount of runoff     20      A. That is fair to say.
   21   that goes into the storm -- into their sewers.    21      Q. Okay. And then you say: If this was
   22   So by definition of a rate increase, it increases 22   the case, the raised paved elevation of their
   23   the load. So it would be a factor.                23   yard would now force the stormwater downstream
   24       Q. And do you know how that factor was 24          resulting in negative flooding impacts to lower

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